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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


IN RE REGIONS MORGAN KEEGAN                                 No. 09-md-02009-SHM
SECURITIES, DERIVATIVE & ERISA
LITIGATION

This Document Relates to:

In re Regions Morgan Keegan Closed-End
Fund Litigation,

No. 07-cv-02830-SHM-dkv



                   DECLARATION OF DAVID J. GOLDSMITH
                 ON BEHALF OF LABATON SUCHAROW LLP IN
                SUPPORT OF LEAD COUNSEL’S MOTION FOR AN
            AWARD OF ATTORNEYS’ FEES AND PAYMENT OF EXPENSES


       DAVID J. GOLDSMITH declares as follows pursuant to 28 U.S.C. § 1746:

       1.      I am a member of the law firm of Labaton Sucharow LLP. I respectfully submit

this declaration in support of Lead Counsel’s motion for an award of attorneys’ fees and payment

of litigation expenses on behalf of all plaintiffs’ counsel who contributed to the prosecution of

the claims in the above-captioned action (the “Action”) from inception through February 28,

2013 (the “Time Period”).

       2.      My firm, which served as Lead Counsel in the Action, was involved in all aspects

of the litigation and settlement of the Action, which is described in detail in my accompanying

declaration submitted in support of Plaintiffs’ motion for final approval of the Settlement and

Plan of Allocation and Lead Counsel’s motion for an award of attorneys’ fees and payment of

litigation expenses.
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       3.      The schedule annexed hereto as Exhibit A is a summary indicating the amount of

time spent by each attorney and professional support staff of my firm who was involved in the

prosecution of the Action, and the lodestar calculation based on my firm’s current billing rates.

For personnel who are no longer employed by my firm, the lodestar calculation is based upon the

billing rates for such personnel in his or her final year of employment by my firm. The schedule

was prepared from contemporaneous daily time records regularly prepared and maintained by

my firm, which are available at the request of the Court. Time expended in preparing this

application for fees and payment of expenses has not been included in this request.

       4.      The hourly rates for the attorneys and professional support staff of my firm

included in Exhibit A are the same as the regular rates charged for their services in non-

contingent matters and/or which have been accepted in other securities or shareholder litigations.

       5.      The total number of hours expended on this litigation by my firm during the Time

Period is 12,351.7 hours. The total lodestar for my firm for those hours is $5,667,160.00.

       6.      My firm’s lodestar figures are based upon the firm’s billing rates, which rates do

not include charges for expenses items. Expense items are billed separately and such charges are

not duplicated in my firm’s billing rates.

       7.      As detailed in Exhibit B annexed hereto, my firm has incurred a total of

$376,276.63 in unreimbursed expenses in connection with the prosecution of the Action. The

expenses are reflected on the books and records of my firm. These books and records are

prepared from expense vouchers, check records and other source materials and are an accurate

record of the expenses incurred.

       8.      With respect to the standing of my firm, annexed hereto as Exhibit C is a brief

biography of my firm and its partners and of counsel.




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                                 EXHIBIT A


      IN RE REGIONS MORGAN KEEGAN CLOSED-END FUND LITIGATION

                             LODESTAR REPORT

      FIRM: LABATON SUCHAROW LLP
      REPORTING PERIOD: INCEPTION THROUGH FEBRUARY 28, 2013

                                                 TOTAL        TOTAL
                                    HOURLY       HOURS      LODESTAR
       PROFESSIONAL      STATUS*     RATE       TO DATE      TO DATE
     Bernstein, J.           P       $975.00       423.9     $413,302.50
     Gottlieb, L.            P       $875.00        61.6      $53,900.00
     Keller, C.              P       $875.00        51.3      $44,887.50
     Alex, M.                P       $875.00        11.5      $10,062.50
     Schochet, I.            P       $875.00         8.0       $7,000.00
     Goldsmith, D.           P       $750.00       970.5     $727,875.00
     Zeiss, N.              OC       $725.00       167.8     $121,655.00
     Wierzbowski, E.        A        $665.00       254.6     $169,309.00
     Erroll, D.             A        $640.00       401.1     $256,704.00
     Ellman, A.             A        $615.00       105.9      $65,128.50
     Rogers, M.             A        $615.00         9.0       $5,535.00
     Woolley, M.            A        $600.00       158.0      $94,800.00
     Avan, R.               A        $540.00        31.2      $16,848.00
     Holmes, C.             A        $525.00        55.5      $29,137.50
     Sundel, S.             A        $500.00       762.5     $381,250.00
     Vasilchenko, I.        A        $490.00         8.0       $3,920.00
     Mann, F.               A        $440.00        15.9       $6,996.00
     Schramm, K.            A        $425.00        34.7      $14,747.50
     Flanigan, M.           AT       $435.00       691.0     $300,585.00
     Sontag, M.             AT       $435.00       497.8     $216,543.00
     George, L.             AT       $435.00       223.3      $97,135.50
     Hayashi, M.            AT       $435.00        46.3      $20,140.50
     Quiles, T.             AT       $425.00       458.2     $194,735.00
     Gebbia, K.             AT       $425.00        92.1      $39,142.50
     Foox, D.               AT       $425.00        49.1      $20,867.50
     Grandinetti, T.        AT       $425.00        13.7       $5,822.50
     Sagona, M.             AT       $410.00       120.7      $49,487.00
     Milaccio, V.           AT       $410.00        78.5      $32,185.00
     McMorrow, T.           AT       $410.00        61.5      $25,215.00
     Horgan, L.             AT       $410.00        60.2      $24,682.00
     Chon, W.               AT       $410.00        31.5      $12,915.00
     Stockman, E.           AT       $400.00       181.1      $72,440.00
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                                                 TOTAL        TOTAL
                                    HOURLY       HOURS      LODESTAR
       PROFESSIONAL       STATUS*    RATE       TO DATE      TO DATE
     Brown, L.              AT       $400.00        96.4      $38,560.00
     Weiss, M.              AT       $400.00        92.5      $37,000.00
     Rifkin, J.             AT       $400.00        73.5      $29,400.00
     Alt, K.                AT       $400.00        67.4      $26,960.00
     Joseph, P.             AT       $400.00        64.1      $25,640.00
     Cleaver, C.            AT       $400.00        55.5      $22,200.00
     Manuel, R.             AT       $400.00        48.6      $19,440.00
     Priveterre, J.         AT       $400.00        48.0      $19,200.00
     Panitz, D.             AT       $400.00        41.8      $16,720.00
     Rosenbaum, A.          AT       $400.00        28.9      $11,560.00
     Stein, C.              AT       $400.00        15.4       $6,160.00
     Farzin, N.             AT       $380.00       188.6      $71,668.00
     Chaudhry, F.           AT       $380.00       148.5      $56,430.00
     Mulraine, H.           AT       $380.00       119.6      $45,448.00
     Behk, A.               AT       $380.00        80.5      $30,590.00
     Mukete, M.             AT       $380.00        75.4      $28,652.00
     Shlyamkovich, Y.       AT       $360.00       145.8      $52,488.00
     Stinaroff, D.          AT       $360.00       118.0      $42,480.00
     Tzall, R.              AT       $360.00        51.1      $18,396.00
     McLaughlin, M.         AT       $350.00       370.3     $129,605.00
     David, D.              AT       $350.00       316.4     $110,740.00
     Omowale, K.            AT       $350.00       276.0      $96,600.00
     Leimgruber, D.         AT       $350.00       190.3      $66,605.00
     Mulvihill, M.          AT       $350.00       145.1      $50,785.00
     Pascual, D.            AT       $350.00       120.3      $42,105.00
     Pearlman, R.           AT       $350.00        64.7      $22,645.00
     Vicens-Cameron, L.     AT       $350.00        41.6      $14,560.00
     Dragas, L.             AT       $350.00         9.0       $3,150.00
     Ciaccio, L.            AT       $335.00       137.1      $45,928.50
     Yamada, R.             AT       $335.00       104.0      $34,840.00
     Johnson, M.            AT       $335.00        71.5      $23,952.50
     Pietrofesa, C.         AT       $335.00        59.5      $19,932.50
     Perez, O.              AT       $335.00        53.0      $17,755.00
     Bernadin, F.           AT       $335.00        46.5      $15,577.50
     Demetropoulos, M.      AT       $330.00       181.2      $59,796.00
     Galustyan, R.          AT       $325.00       195.8      $63,635.00
     Okarma, E.             AT       $325.00       168.0      $54,600.00
     Kelly, T.              AT       $325.00       146.3      $47,547.50
     Garcia, E.             AT       $325.00       135.7      $44,102.50
     Soloway, M.            AT       $325.00       134.9      $43,842.50
     Reiss, V.              AT       $325.00       134.0      $43,550.00
     Jenkins, S.            AT       $325.00       131.5      $42,737.50
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                                                 TOTAL        TOTAL
                                     HOURLY      HOURS      LODESTAR
        PROFESSIONAL       STATUS*    RATE      TO DATE      TO DATE
     Kokalj, J.              AT      $325.00       114.9      $37,342.50
     Perry, M.               AT      $325.00       101.3      $32,922.50
     Crosby, M.              AT      $325.00        97.0      $31,525.00
     Schervish, W.           LA      $510.00         8.2       $4,182.00
     Ching, N.               RA      $405.00        22.5       $9,112.50
     Chianelli, T.           RA      $295.00         7.5       $2,212.50
     Capuozzo, C.            RA      $285.00        31.4       $8,949.00
     Bertuglia, P.           RA      $285.00        12.5       $3,562.50
     Chan, V.                RA      $270.00         5.5       $1,485.00
     Pontrelli, J.            I      $485.00        55.5      $26,917.50
     Greenbaum, A.            I      $445.00        12.9       $5,740.50
     Wroblewski, R.           I      $410.00        37.5      $15,375.00
     Cooper, S.               I      $375.00         5.5       $2,062.50
     McKenzie-Moreau, D.     PL      $300.00        54.0      $16,200.00
     Auer, S.                PL      $295.00       290.7      $85,756.50
     Krasner, S.             PL      $295.00        88.1      $25,989.50
     Rogers, D.              PL      $295.00        47.0      $13,865.00
     Benitez, N.             PL      $295.00        41.4      $12,213.00
     Kupersmith, R.          PL      $295.00        28.0       $8,260.00
     Messier, R.             PL      $280.00        11.5       $3,220.00
     Cordoba-Riera, D.       PL      $280.00         7.4       $2,072.00
     Chan, C.                PL      $275.00        35.9       $9,872.50
     Viczian, R.             PL      $270.00       186.3      $50,301.00
     Jo, E.                  PL      $260.00        76.4      $19,864.00
     Pellegrino, A.          PL      $240.00        17.5       $4,200.00
     Giles, M.               PL      $210.00        14.5       $3,045.00
     Macri, N.               PL      $190.00        12.5       $2,375.00


          TOTAL                                 12,351.7   $5,667,160.00

Partner            (P)
Of Counsel         (OC)
Associate          (A)
Attorney           (AT)
Legal Analyst      (LA)
Research Analyst   (RA)
Investigator       (I)
Paralegal          (PL)
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                        EXHIBIT B
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                                         EXHIBIT B


      IN RE REGIONS MORGAN KEEGAN CLOSED-END FUND LITIGATION

                                    EXPENSE REPORT

       FIRM: LABATON SUCHAROW LLP
       REPORTING PERIOD: INCEPTION THROUGH FEBRUARY 28, 2013

                                                                          TOTAL
                           EXPENSE                                       AMOUNT
      Expert Fees                                                        $276,823.05
        Global Economics Group                             $251,553.05
        (Damages/Causation/Quantitative Analyses)
        Forensic Economics, Inc.                            $20,270.00
        (Damages/Causation Analyses)
        FI Consulting (Forensic Analysis of Fund Assets)     $5,000.00
      Transportation / Meals / Lodging                                    $31,518.41
      Computer Research                                                   $26,102.05
      Duplicating                                                         $19,794.40
      Mediation Fees                                                      $17,637.65
      Telephone / Fax                                                       $795.79
      Court Reporter Service / Transcript Fees                              $718.75
      Filing Fees                                                           $690.00
      Notice to Class                                                       $650.00
      Litigation Support                                                    $506.25
      Federal Express                                                       $448.03
      Disclosure / Docutrieval                                              $418.35
      Postage                                                               $123.90
      Messengers                                                             $50.00



             TOTAL                                                       $376,276.63
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                                                                            Firm Resume
                                                          InvestorProtectionLitigation




New York 140 Broadway | New York, NY 10005 | 212-907-0700 main | 212-818-0477 fax | www.labaton.com
Delaware   300 Delaware Avenue, Suite 1225 | Wilmington, DE 19801 | 302-573-2540 main | 302-573-2529 fax
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 Introduction
        Founded in 1963, Labaton Sucharow LLP (“Labaton Sucharow”) is an internationally

 respected law firm with offices in New York, New York and Wilmington, Delaware and has

 relationships throughout the United States, Europe and the world. The Firm consists of over

 70 attorneys and a professional support staff that includes paralegals, sophisticated financial

 analysts, e-discovery specialists, licensed private investigators, certified public accountants,

 and forensic accountants with notable federal and state law enforcement experience. The

 Firm prosecutes major complex litigation in the United States, and has successfully conducted

 a wide array of representative actions (primarily class, mass and derivative) in the areas of:

 Securities; Antitrust & Competition; Financial Products & Services; Corporate Governance &

 Shareholder Rights; Mergers & Acquisitions; Derivative; REITs & Limited Partnerships;

 Consumer; and Whistleblower Representation.

        For nearly 50 years, Labaton Sucharow has cultivated a reputation as one of the finest

 litigation boutiques in the country. The Firm’s attorneys are skilled in every stage of business

 litigation and have successfully taken on corporations in virtually every industry. Our work has

 resulted in billions of dollars in recoveries for our clients, and in sweeping corporate reforms

 protecting consumers and shareholders alike.

        On behalf of some of the most prominent institutional investors around the world,

 Labaton Sucharow prosecutes high-profile and high-stakes securities fraud. Our Securities

 Litigation Practice has recovered billions of dollars and achieved corporate governance

 reforms to ensure that the financial marketplace operates with greater transparency, fairness

 and accountability.

        Labaton Sucharow also brings its unparalleled securities litigation expertise to the

 practice of Whistleblower Representation, exclusively representing whistleblowers that have

 original information about violations of the federal securities laws. The Firm’s Whistleblower
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 Representation Practice plays a critical role in exposing securities fraud and creating necessary

 corporate reforms.

        Labaton Sucharow’s Corporate Governance & Shareholder Rights Practice successfully

 pursues derivative and other shareholder actions to advance shareholder interests. In addition

 to our deep knowledge of corporate law and the securities regulations that govern corporate

 conduct, our established office in Delaware where many of these matters are litigated,

 uniquely positions us to protect shareholder assets and enforce fiduciary obligations.

        Visit our website at www.labaton.com for more information about our dynamic Firm.



 Corporate Governance
        Labaton Sucharow is committed to corporate governance reform. Through its

 leadership of membership organizations which seek to advance the interests of shareholders

 and consumers, Labaton Sucharow seeks to strengthen corporate governance and support

 legislative reforms which improve and preserve shareholder and consumer rights.

        Through the aegis of the National Association of Shareholder and Consumer Attorneys

 (NASCAT), a membership organization of approximately 100 law firms that practice class

 action and complex civil litigation, the Firm continues to advocate against those who would

 legislatively seek to weaken shareholders’ rights, including their right to obtain compensation

 through the legal system.

        From 2009-2011 Partner Ira A. Schochet served as President of NASCAT, following in

 the footsteps of Chairman Lawrence A. Sucharow who held the position from 2003-2005.

        Labaton Sucharow is also a patron of the John L. Weinberg Center for Corporate

 Governance of the University of Delaware (“The Center”) and was instrumental in the task

 force of the Association of the Bar of the City of New York, which drafted recommendations

 on the roles of law firms and lawyers’ in preventing corporate fraud through improved



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 governance. One of Labaton Sucharow’s partners, Edward Labaton, is a member of the

 Advisory Committee of The Center.

        In early 2011, Partner Michael W. Stocker spoke before the Securities and Exchange

 Commission’s Trading and Markets Division regarding liability for credit rating agencies under

 the Dodd-Frank Act. His articles on corporate governance issues have been published in a

 number of national trade publications.

        On behalf of our institutional and individual investor clients, Labaton Sucharow has

 achieved some of the largest precedent-setting settlements since the enactment of the Private

 Securities Litigation Reform Act of 1995 (“PSLRA”), and has helped avert future instances of

 securities fraud by negotiating substantial corporate governance reforms as conditions of

 many of its largest settlements.

        Some of the successful cases in which Labaton Sucharow has been able to affect

 significant corporate governance changes include:

 In re Waste Management, Inc. Securities Litigation,
     Civ. No. H-99-2183 (S.D. Tex.)
        In the settlement of the In re Waste Management, Inc. Securities Litigation case, we
        earned critical corporate governance improvements resulting in:
         • A stronger and more independent audit committee;
         • A board structure with greater accountability; and
         • Protection for whistleblowers.

 In re Bristol-Myers Squibb Securities Litigation,
     Civ. No. CV-98-W-1407-S (N.D. Ala.)
        In Bristol-Myers Squibb, we won unprecedented corporate governance concessions,
        including:
         • Required public disclosure of the design of all clinical drug trials; and
         • Required public disclosure on the company’s website of the results of all clinical
           studies on drugs marketed in any country throughout the world.




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 Cohen v. Gray, et al.,
    Case No. 03 CH 15039 (C.C. Ill.)
        In this case against the Boeing aircraft company, we achieved a landmark settlement
        establishing unique corporate governance standards relating to ethics compliance
        including:
         • At least 75 percent of Boeing’s Board must be independent under NYSE criteria;
         • Board members will receive annual corporate governance training;
         • Direct Board supervision of an improved ethics and compliance program;
         • Improved Audit Committee oversight of ethics and compliance; and
         • A $29 million budget dedicated to the implementation and support of these
           governance reforms.

 In re Vesta Insurance Group Securities Litigation,
     Civ. No. CV-98-W-1407-S (N.D. Ala.)
        In settling Vesta, the company adopted provisions that created:
         • A Board with a majority of independent members;
         • Increased independence of members of the company’s audit, nominating and
           compensation committees;
         • Increased expertise in corporate governance on these committees; and
         • A more effective audit committee.

 In re Orbital Sciences Corporation Securities Litigation,
     Civ. No. 99-197-A (E.D. Va.)
        In this case against Orbital Sciences Corporation, Labaton Sucharow was able to:
         • Negotiate the implementation of measures concerning the company’s quarterly
           review of its financial results;
         • The composition, role and responsibilities of its Audit and Finance committee; and
         • The adoption of a Board resolution providing guidelines regarding senior
           executives’ exercise and sale of vested stock options.

 In re Take-Two Interactive Securities Litigation,
     Civ. No. 06-CV-803-RJS (S.D.N.Y.)
        In settling Take-Two Interactive, we achieved significant corporate governance reforms
        which required the company to:
         • Adopt a policy, commonly referred to as “clawback” provision, providing for the
           recovery of bonus or incentive compensation paid to senior executives in the event
           that such compensation was awarded based on financial results later determined to
           have been erroneously reported as a result of fraud or other knowing misconduct
           by the executive;
         • Adopt a policy requiring that its Board of Directors submit any stockholder rights
           plan (also commonly known as ‘poison pill’) that is greater than 12 months in
           duration to a vote of stockholders; and



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          • Adopt a bylaw providing that no business may be properly brought before an
            annual meeting of stockholders by a person other than a stockholder unless such
            matter has been included in the proxy solicitation materials issued by the company.


 Trial Experience
        Few securities class action cases go to trial. But when it is in the best interests of its

 clients and the class, Labaton Sucharow repeatedly has demonstrated its willingness and

 ability to try these complex securities cases before a jury. More than 95% of the Firm’s

 partners have trial experience.

        Labaton Sucharow’s recognized willingness and ability to bring cases to trial

 significantly increases the ultimate settlement value for shareholders.

        In In re Real Estate Associates Limited Partnership Litigation, when defendants were

 unwilling to settle for an amount Labaton Sucharow and its clients viewed as fair, we tried the

 case with co-counsel for six weeks and obtained a landmark $184 million jury verdict in

 November 2002. The jury supported plaintiffs’ position that defendants knowingly violated

 the federal securities laws, and that the general partner had breached his fiduciary duties to

 plaintiffs. The $184 million award was one of the largest jury verdicts returned in any PSLRA

 action and one in which the plaintiff class, consisting of 18,000 investors, recovered 100% of

 their damages.




 Notable Lead Counsel Appointments
        Labaton Sucharow's institutional investor clients are regularly appointed by federal

 courts to serve as lead plaintiffs in prominent securities litigations brought under the PSLRA.

 Dozens of state, city and country public pension funds and union funds have selected Labaton

 Sucharow to represent them in federal securities class actions and advise them as securities




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 litigation/investigation counsel. Listed below are several of our current notable lead and co-

 lead counsel appointments:


 In re Computer Sciences Corporation Securities Litigation,
     No. 11-cv-610 (E.D. Va.)
     Representing Ontario Teachers’ Pension Plan Board as lead plaintiff

 In re MF Global Holdings Limited Securities Litigation,
     No. 11-cv-7866 (S.D.N.Y.)
     Representing the Province of Alberta as co-lead plaintiff

 Richard Gammel v. Hewlett-Packard Company, et al.,
    No. 8:11-cv-01404-AG-RNB (C.D.Cal.)
    Representing Arkansas Teacher Retirement System and the Labourers’ Pension Fund of
    Central and Eastern Canada as co-lead plaintiff

 In re Massey Energy Co. Securities Litigation,
     No. 5:10-cv-00689 (S.D. W. Va.)
     Representing Commonwealth of Massachusetts Pension Reserves Investment Trust
     (“Massachusetts PRIT”) as lead plaintiff

 In re Schering Plough/Enhance Securities Litigation,
     No. 08-cv-00397-DMC-JAD (D.N.J.)
     Representing the Pension Reserves Investment Management Board (Commonwealth
     of Massachusetts) as co-lead plaintiff


 Listed below are several of our current notable lead and co-lead counsel appointments

 resulting from the credit crisis:


 In re Regions Morgan Keegan Closed-End Fund Litigation,
     No. 07-CV-02830 (W.D. Tenn)
     Representing Lion Fund, L.P., Dr. J. Samir Sulieman, and Larry Lattimore as lead plaintiffs

 In re Goldman Sachs Group Inc. Securities Litigation,
     No. 1:10-cv-03461 (S.D.N.Y.)
     Representing the Arkansas Teacher Retirement System as co-lead plaintiff

 In re 2008 Fannie Mae Securities Litigation,
     No. 08-CV-1859 (E.D.Mo.)
     Representing Boston Retirement Board as co-lead plaintiff

 Stratte-McClure v. Morgan Stanley et al.,
     No. 09-cv-2017 (S.D.N.Y.)
     Representing State Boston Retirement System as lead plaintiff




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 Notable Successes
         Labaton Sucharow has achieved notable successes in major securities litigations on

 behalf of its clients and certified investor classes.

                  Docket Information                                       Results of the Case

                                                          $275 million settlement with Bear Stearns plus a
 In re Bear Stearns Companies, Inc. Securities
                                                          $19.9 million settlement with Deloitte & Touche
 Litigation, No. 08-md-1963 (S.D.N.Y.)
                                                          LLP, Bear Stearns’ outside auditors

 In re American International Group Inc. Securities       Negotiated settlements totaling more than
 Litigation, No. 04-cv-8141 (S.D.N.Y.)                    $1 billion

 In re HealthSouth Securities Litigation,
                                                          Settlement valued at $671 million
 No. 03-cv-1500 (N.D. Ala.)

 In re Waste Management, Inc. Securities Litigation,
                                                          Settled for $457 million
 No. H-99-2183 (S.D. Tex.)

 In re Countrywide Financial Corp. Securities             Settled for $624 million – the largest credit-crisis-
 Litigation, No. 07-cv-5295 (C.D. Cal.)                   related settlement at the time

 In re General Motors Corp. Securities & Derivative
                                                          Settled for $303 million
 Litigation, No. 06-md-1749 (E.D. Mich.)

 In re El Paso Corporation Securities Litigation,
                                                          Settled for $285 million
 No. 02-cv-2717 (S.D. Tex.)

 In re PaineWebber Limited Partnerships Litigation,
                                                          Settled for $200 million
 No. 94-cv-832/7 (S.D.N.Y.)

 Eastwood Enterprises LLC v. Farha (WellCare
                                                          Settled for $200 million
 Securities Litigation), No. 07-cv-1940 (M.D. Fla.)

 In re Bristol-Myers Squibb Securities Litigation,        Settled for $185 million and significant corporate
 No. 00-cv-1990 (D.N.J.)                                  governance reforms

                                                          Settled for $160.5 million – at the time, the second
                                                          largest up-front cash settlement ever recovered
 In re Broadcom Corp. Securities Litigation, No. 06-
                                                          from a company accused of options backdating;
 cv-5036 (C.D. Cal.)
                                                          plus a $13 million settlement with the auditor,
                                                          Ernst & Young

                                                          Settled for $125 million with Satyam and
 In re Satyam Computer Services, Ltd. Securities
                                                          $25.5 million with PwC Entities (partial settlements,
 Litigation, No. 09-md- 2027 (S.D.N.Y.)
                                                          case is ongoing)

 In re Mercury Interactive Securities Litigation,         Settled for $117.5 million – the largest options
 No. 05-cv- 3395 (N.D. Cal.)                              backdating settlement at the time

 In re Prudential Securities Inc. Limited Partnership
                                                          Negotiated $110 million partial settlement
 Litigation, No. M-21-67 (S.D.N.Y.)




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                   Docket Information                                     Results of the Case

 In re Oppenheimer Champion Fund Securities
 Fraud Class Actions, No. 09-cv-386 (D. Colo.) and       Settled for $100 million
 In re Core Bond Fund, No. 09-cv-1186 (D. Colo.)

 In re Vesta Insurance Group, Inc. Securities            Settled for $80 million in total and significant
 Litigation, No. 98-cv-1407 (N.D. Ala.)                  corporate governance reforms

 In re St. Paul Travelers Securities Litigation,
                                                         Settled for $67.5 million
 No. 04-CV-3801 (D. Minn.)

 In re St. Paul Travelers Securities Litigation II,
                                                         Settled for $77 million
 No. 04-cv-4697 (D. Minn.)

 In re Regions Morgan Keegan Closed-End Fund
                                                         Settled for $62 million
 Litigation

                                                         Settled for $47.5 million – required Monster’s
 In re Monster Worldwide, Inc. Securities Litigation,    founder and former Chief Executive Officer
 No. 07-cv-2237 (S.D.N.Y.)                               Andrew McKelvey to personally pay $550,000
                                                         toward the settlement

 Hughes v. Huron Consulting Group, Inc.,
                                                         Settled for $38 million
 No. 09-cv-4734 (N.D. Ill.)

 Abrams v. Van Kampen Funds, Inc.,
                                                         Settled for $31.5 million
 No. 01-cv-7538 (N.D. Ill.)

 In re Novagold Resources Inc. Securities Litigation,
                                                         Settled for $22 million
 No. 08-cv-7041 (S.D.N.Y.)

 Police & Fire Ret. System of Detroit v. SafeNet,
                                                         Settled for $25 million
 Inc., No. 06-cv-5797 (S.D.N.Y.)

 Desert Orchid Partners, L.L.C. v. Transactions
                                                         Settled for $24.5 million
 Systems Architects, Inc., No. 02-cv-533 (D. Neb.)

 In re Orbital Sciences Corp. Securities Litigation,     Settled for $23.5 million and significant corporate
 No. 99-cv-197 (E.D. Va.)                                governance reforms

 In re Take Two Interactive Securities Litigation,       Settled for $20.1 million and significant corporate
 No. 06-cv-803 (S.D.N.Y.)                                governance reforms

 In re International Business Machines Corp.
                                                         Settled for $20 million
 Securities Litigation, No. 05-cv-6279 (S.D.N.Y.)

 In re Just for Feet Noteholder Litigation,
                                                         Settled for $17.75 million
 No. 00-cv-1404 (N.D. Ala.)

 In re American Tower Corporation Securities
                                                         Settled for $14 million
 Litigation, No. 06-cv-10933 (D. Mass.)

 In re CapRock Communications Corp. Securities
                                                         Settled for $11 million
 Litigation, No. 00-CV-1613 (N.D. Tex.)




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                  Docket Information                                 Results of the Case

 In re SupportSoft, Inc. Securities Litigation,
                                                    Settled for $10.7 million
 No. 04-cv-5222 (N.D. Cal.)

 In re InterMune Securities Litigation,
                                                    Settled for $10.4 million
 No. 03-cv-2954 (N.D. Cal.)

 In re HCC Insurance Holdings, Inc. Securities
                                                    Settled for $10 million
 Litigation, No. 07-cv-801 (S.D. Tex.)


 In re Regions Morgan Keegan Closed-End Fund Litigation,
     No. 07-CV-02830 (W.D. Tenn)

         Labaton Sucharow served as sole lead counsel, representing the Lion Fund, L.P., Dr. J.
         Sulieman and Larry Lattimore, in this case against Regions Morgan Keegan (“RMK”),
         alleging that they fraudulently overstated the values of portfolio securities and
         reported false Net Asset Values (“NAVs”). RMK also falsely touted their professional
         portfolio management by “one of America’s leading high-yield fund managers” when,
         in fact, portfolio securities frequently were purchased blindly without the exercise of
         basic due diligence. On April 13, 2011, defendants moved to dismiss. On March 30,
         2012, the court issued an Opinion denying the motions to dismiss nearly in their
         entirety. The court upheld the Section 10(b) claims as against the Funds and defendant
         James R. Kelsoe, the Funds’ Senior Portfolio Manager, and dismissed those claims as
         against three other individual defendants. The court upheld plaintiffs’ Securities Act
         claims in their entirety. In April 2012 Labaton Sucharow achieved a $62 million
         settlement.

 In re HealthSouth Securities Litigation,
     Civ. No CV-03-BE-1500-S (N.D. Ala.)
         Labaton Sucharow served as co-lead counsel in a case stemming from the largest fraud
         ever perpetrated in the healthcare industry. In early 2006, lead plaintiffs negotiated a
         settlement of $445 million with defendant HealthSouth. This partial settlement,
         comprised of cash and HealthSouth securities to be distributed to the class, is one of
         the largest in history. On June 12, 2009, the Court also granted final approval to a
         $109 million settlement with defendant Ernst & Young LLP (“E&Y”) which at the time
         was approximately the eighth largest securities fraud class action settlement with an
         auditor. In addition, on July 26, 2010, the Court granted final approval to a
         $117 million partial settlement with the remaining principal defendants in the case,
         UBS AG, UBS Warburg LLC, Howard Capek, Benjamin Lorello and William McGahan
         (the “UBS Defendants”). The total value of the settlements for HealthSouth
         stockholders and HealthSouth bondholders, who were represented by separate
         counsel, is $804.5 million.

 In re NYSE Euronext Shareholders Litigation,
     Consolidated C.A., 6220-VCS (Del. Ch. 2011)
         Labaton Sucharow played a leadership role in landmark shareholder litigation arising
         from the acquisition of the New York Stock Exchange—a deal that had implications not
         only for NYSE shareholders, but for global financial markets. Following aggressive


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        litigation spanning both sides of the Atlantic, the Firm secured a proposed settlement
        which would have provided a special dividend of nearly a billion dollars to NYSE
        shareholders if the transaction was completed. While European regulators ultimately
        rejected the merger in 2012 citing anticompetitive concerns, the Firm’s work in the
        litigation cemented its reputation as a leader in the field.

 In re American International Group, Inc. Securities Litigation,
     No. 04 Civ. 8141 (JES) (AJP) (S.D.N.Y.)
        In one of the most complex and challenging securities cases in history, Labaton
        Sucharow secured a landmark $725 million settlement with American International
        Group (“AIG”) regarding allegations of bid rigging and accounting fraud. This
        followed our $97.5 million settlement with AIG’s auditors and an additional $115
        million settlement with former AIG officers and related defendants which is still
        pending before the Court. Further, a proposed $72 million settlement with General
        Reinsurance Corporation, which was alleged to have been involved in one of the
        accounting frauds with AIG, is pending before the Second Circuit. In total, the four
        AIG settlements would provide a recovery of more than $1 billion for class members.

 In re Countrywide Financial Corp. Securities Litigation,
     No. CV 07-cv-05295-MRP-MAN (C.D. Cal.)
        Labaton Sucharow served as sole lead counsel on behalf of the New York State
        Common Retirement Fund and the five New York City public pension funds. Plaintiffs
        alleged that defendants violated securities laws by making false and misleading
        statements concerning Countrywide’s business as an issuer of residential mortgages,
        the creditworthiness of borrowers, underwriting and loan origination practices, loan
        loss and other accounting provisions, and misrepresenting high-risk low-documentation
        loans as being “prime.” While the price of Countrywide stock was artificially inflated
        by defendants’ false representations, insiders received millions of dollars from
        Countrywide stock sales. On February 25, 2011, the Court granted final approval to a
        settlement of $624 million, which at the time was the 14th largest securities class action
        settlement in the history of the PSLRA.

 In re Waste Management, Inc. Securities Litigation,
     Civ. No. H-99-2183 (S.D. Tex.)
        In 2002, Judge Melinda Harmon approved an extraordinary settlement that provided
        for recovery of $457 million in cash, plus an array of far reaching corporate governance
        measures. At that time, this settlement was the largest common fund settlement of a
        securities action achieved in any court within the Fifth Circuit and the third-largest
        achieved in any federal court in the nation. Judge Harmon noted, among other things,
        that Labaton Sucharow “obtained an outstanding result by virtue of the quality of the
        work and vigorous representation of the class.”

 In re General Motors Corp. Securities Litigation,
     No. 06-1749, (E.D. Mich.)
        Labaton Sucharow was co-lead counsel for DekaInvestment GmbH. The complaint
        alleged that, over a period of six years, General Motors (“GM”), its officers and its
        outside auditor overstated GM’s income by billions of dollars, and GM’s operating cash
        flows by tens of billions of dollars, through a series of accounting manipulations that


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        included, among other things, prematurely recognizing income from supplier rebates,
        misclassifying cash flow as operating rather than investing cash flow, and omitting to
        disclose the nature and amount of GM’s guarantee of pension benefits owing to
        workers at GM’s former parts division, now an independent corporation in Chapter 11
        bankruptcy protection, Delphi Corporation. On July 21, 2008, a settlement was
        reached whereby GM made a cash payment of $277 million and defendant Deloitte &
        Touche LLP, which served as GM’s outside auditor during the period covered by the
        action, agreed to contribute an additional $26 million in cash.

 In re El Paso Corporation Securities Litigation,
     Civ. No. H-02-2717 (S.D. Tex.)
        Labaton Sucharow secured a $285 million class action settlement against the El Paso
        Corporation. The case involved a securities fraud stemming from the Company’s
        inflated earnings statements, which cost shareholders hundreds of millions of dollars
        during a four-year span. The settlement was approved by the Court on March 6, 2007.

 In re PaineWebber Limited Partnerships Litigation,
     No. 94 Civ. 832/7 (SHS) (S.D.N.Y.)
        Judge Sidney H. Stein approved a settlement valued at $200 million and found “that
        class counsel’s representation of the class has been of high caliber in conferences, in
        oral arguments and in work product.”

 Eastwood Enterprises, LLC v. Farha et al. (WellCare Securities Litigation),
    No. 8:07-cv-1940-T-33EAJ (M.D. Fla.)
        On behalf of The New Mexico State Investment Council and the Public Employees
        Retirement Association of New Mexico, co-lead counsel for the class, Labaton
        Sucharow, negotiated a $200 million settlement over allegations that WellCare Health
        Plans, Inc., a Florida-based managed healthcare service provider, disguised its
        profitability by overcharging state Medicaid programs. Under the terms of the
        settlement, which was approved by the Court on May 4, 2011, WellCare agreed to pay
        an additional $25 million in cash if, at any time in the next three years, WellCare is
        acquired or otherwise experiences a change in control at a share price of $30 or more
        after adjustments for dilution or stock splits.

 In re Bristol-Myers Squibb Securities Litigation,
     Civ. No. 00-1990 (D.N.J.)
        After prosecuting securities fraud claims against Bristol-Myers Squibb (“BMS”) for
        more than five years, Labaton Sucharow reached an agreement to settle the claims for
        $185 million and significant corporate governance reforms. This settlement is the
        second largest recovery against a pharmaceutical company, and it is the largest
        recovery ever obtained against a pharmaceutical company in a securities fraud case
        involving the development of a new drug. Moreover, the settlement is the largest ever
        obtained against a pharmaceutical company in a securities fraud case that did not
        involve a restatement of financial results.




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 In re Broadcom Corp. Securities Litigation,
     No. 06-cv-05036-R-CW (C.D. Cal.)
        Labaton Sucharow served as lead counsel on behalf of lead plaintiff New Mexico State
        Investment Council in a case stemming from Broadcom Corp.’s $2.2 billion restatement
        of its historic financial statements for 1998-2005. In August 2010 the Court granted
        final approval of a $160.5 million settlement with Broadcom and two individual
        defendants to resolve this matter, the second-largest upfront cash settlement ever
        recovered from a company accused of options backdating. On April 14, 2011, the
        Court of Appeals for the Ninth Circuit issued an opinion in New Mexico State
        Investment Council v. Ernst & Young LLP—a matter related to Broadcom. In particular,
        the Ninth Circuit’s opinion held that the Complaint contains three separate sets of
        allegations that adequately allege Ernst & Young’s (“E&Y”) scienter, and that there is
        “no doubt” that lead plaintiff carried its burden in alleging E&Y acted with actual
        knowledge or reckless disregard that their unqualified audit opinion was fraudulent.
        Importantly, the decision confirms that outside auditors are subject to the same
        pleading standards as all other defendants. In addition, the opinion confirms that a
        defendant’s pre-class-period knowledge is relevant to its fraudulent scienter, and must
        be considered holistically with the rest of the allegations. In August 2011, the District
        Court spread the Ninth Circuit's mandate made in April 2011, and denied Ernst &
        Young's motion to dismiss on the ground of loss causation. This ruling is a major victory
        for the class and a landmark decision by the Court—the first of its kind in a case arising
        from stock-options backdating. The decision underscores the impact that institutional
        investors can have in enforcing the federal securities laws, above and beyond the role
        of prosecutors and regulators. On October 12, 2012, the Court approved a $13 million
        settlement with Ernst & Young.

 In re Satyam Computer Services Ltd. Securities Litigation,
     09-md-2027-BSJ (S.D.N.Y.)
        Satyam, referred to as “India’s Enron,” engaged in one of the most egregious frauds
        on record. In a case that rivals the Enron and Madoff scandals, lead plaintiffs allege
        that Satyam Computer Services Ltd., related entities, its auditors and certain directors
        and officers allegedly made materially false and misleading statements to the investing
        public about the company’s earnings and assets, which had the effect of artificially
        inflating the price of Satyam securities. On September 13, 2011, the court granted
        final approval to a settlement with Satyam of $125 million, with the possibility of an
        additional recovery in the future. The Court also granted final approval to a settlement
        with the company’s auditor, PricewaterhouseCoopers (PwC), in the amount of $25.5
        million. Litigation continues against additional defendants. In addition to achieving
        over $150 million in collective settlements, we procured a letter of confession from the
        CEO—unprecedented in its detail—who, with other former officers, remains on trial in
        India for securities fraud.

 In re Mercury Interactive Corp. Securities Litigation,
     Civ. No. 5:05-CV- 3395 (N.D. Cal.)
        Labaton Sucharow served as co-lead counsel on behalf of co-lead plaintiff Steamship
        Trade Association/International Longshoremen’s Association Pension Fund. The
        allegations in Mercury concern backdated option grants used to compensate
        employees and officers of the Company. Mercury’s former CEO, CFO, and General


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        Counsel actively participated in and benefited from the options backdating scheme,
        which came at the expense of Mercury shareholders and the investing public. On
        September 25, 2008, the Court granted final approval of the $117.5 million settlement.

 In re Prudential Securities Inc. Limited Partnership Litigation,
     Civ. No. M-21-67 (S.D.N.Y.)
        In this well-known securities litigation, the late Judge Milton Pollack cited the
        “Herculean” efforts of Labaton Sucharow and its co-lead counsel and, in approving a
        $110 million partial settlement, stated that “this case represents a unique recovery – a
        recovery that does honor to every one of the lawyers on your side of the case.”

 In re Oppenheimer Champion Fund Securities Fraud Class Actions,
     No. 09-cv-525-JLK-KMT (D. Colo.)
        and
 In re Core Bond Fund,
     No. 09-cv-1186-JLK-KMT (D. Colo.)
        Labaton Sucharow served as lead counsel in two related securities class actions
        brought against OppenheimerFunds, Inc., among others, and certain officers and
        trustees of two funds – Oppenheimer Core Bond Fund and Oppenheimer Champion
        Income Fund. The lawsuits alleged that the investment policies followed by the funds
        resulted in investor losses when the funds suffered drops in net asset value although
        the funds were presented as safe and conservative investments to consumers. In May
        2011 the Firm achieved settlements amounting to $100 million: $52.5 million in In re
        Oppenheimer Champion Fund Securities Fraud Class Actions and a $47.5 million
        settlement in In re Core Bond Fund.

 In re Vesta Insurance Group, Inc. Securities Litigation,
     Civ. No. CV-98-AR-1407 (N.D. Ala.)
        After years of protracted litigation, Labaton Sucharow secured a settlement of
        $78 million on the eve of trial.

 In re St. Paul Traveler’s II Securities Litigation,
     Civ. No. 04-4697 (JRT/FLN) (D. Minn.)
        In the second of two cases filed against St. Paul Travelers by Labaton Sucharow, arose
        from the industry-wide insurance scandal involving American International Group,
        Marsh McLennan, the St. Paul Companies and numerous other insurance providers and
        brokers. On July 23, 2008, the Court granted final approval of the $77 million
        settlement and certified the settlement class.

 In re St. Paul Travelers Securities Litigation,
     No. 04-CV-3801 (D. Minn.)
        Labaton Sucharow was able to successfully negotiate the creation of an all cash
        settlement fund to compensate investors in the amount of $67.5 million in November
        2005. This settlement is one of the largest securities class action settlements in the
        Eighth Circuit.




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 In re Monster Worldwide, Inc. Securities Litigation,
     No. 07-CV-02237 (S.D.N.Y.)
        Labaton Sucharow represented Middlesex County Retirement System in claims alleging
        that defendants engaged in a long-running scheme to backdate Monster’s stock option
        grants to attract and retain employees without recording the resulting compensation
        expenses. On November 25, 2008, the Court granted final approval of the
        $47.5 million settlement.

 Hughes v. Huron Consulting Group, Inc.,
    09-CV-4734 (N.D. Ill.)
        Labaton Sucharow acted as co-lead counsel for lead plaintiffs the Public School
        Teachers’ Pension & Retirement Fund of Chicago, the Arkansas Public Employees
        Retirement System, State-Boston Retirement Board, the Cambridge Retirement System
        and the Bristol County Retirement System in a suit alleging that Huron Consulting
        Group and certain individual defendants made materially false or misleading
        statements to the investing public, which had the effect of artificially inflating the price
        of Huron’s common stock. On May 6, 2011, the Court granted final approval to a
        settlement in the amount of $27 million dollars plus 474,547 shares of Huron common
        stock (valued at approximately $11 million as of November 24, 2010, based on its
        closing price of $23.18). This settlement represents a significant percentage of the
        alleged $57 million in earnings that the company overstated.

 Abrams v. VanKampen Funds, Inc.,
    01 C 7538 (N.D. Ill.)
        In January 2006 Labaton Sucharow obtained final approval of a $31.5 million
        settlement in an innovative class action concerning VanKampen’s senior loan mutual
        fund, alleging that the fund overpriced certain senior loan interests where market
        quotations were readily available. The gross settlement fund constitutes a recovery of
        about 70% of the class’s damages as determined by plaintiffs’ counsel.

 In re NovaGold Resources Inc. Securities Litigation,
     No. 1:08-cv-07041 (S.D.N.Y.)
        Labaton Sucharow served as lead counsel in a securities class action over NovaGold’s
        misleading representations regarding the economic feasibility of its Galore Creek
        mining project. Labaton Sucharow secured a global settlement of C$28 million
        (approximately $26 million U.S.), one of the largest cross-border securities class action
        settlements in 2010.

 Police and Fire Retirement System of the City of Detroit, et al. v. SafeNet, Inc., et al.,
     No. 06-Civ-5797 (PAC)
        Labaton Sucharow served as co-lead counsel for lead plaintiffs the Police and Fire
        Retirement System of the City of Detroit, the Plymouth County Retirement System, and
        the State-Boston Retirement System in a suit alleging that SafeNet, Inc. (“SafeNet”)
        and certain individual defendants misled investors by making misrepresentations and
        omissions to the investing public, which had the effect of artificially inflating SafeNet’s
        stock price. On December 20, 2010, the Court granted final approval to the
        $25 million settlement.



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 Desert Orchid Partners, L.L.C. v. Transactions Systems Architects, Inc.,
    Civ. No. 02 CV 533 (D. Neb.)
        Labaton Sucharow represented the Genesee Employees’ Retirement System as lead
        plaintiff in claims alleging violations of the federal securities laws. On March 2, 2007,
        the Court granted final approval to the settlement of this action for $24.5 million in
        cash.

 In re Orbital Sciences Corp. Securities Litigation,
     Civ. No. 99-197-A (E.D. Va.)
        After cross-motions for summary judgment were fully briefed, defendants (and
        Orbital’s auditor in a related proceeding) agreed to a $23.5 million cash settlement,
        warrants, and substantial corporate governance measures.

 In re International Business Machines Corp. Securities Litigation,
     Civ. No. 1:05-cv-6279 (AKH) (S.D.N.Y.)
        Labaton Sucharow served as lead counsel in this action alleging that that International
        Business Machines Corp. (“IBM”), and its Chief Financial Officer, Mark Loughridge,
        made material misrepresentations and omissions concerning IBM’s expected 2005 first
        quarter earnings, IBM’s expected 2005 first quarter operational performance, and the
        financial impact of IBM’s decision to begin expensing stock options on its 2005 first
        quarter financial statements. On September 9, 2008, the Court granted final approval
        of the $20 million settlement.

 In re Take-Two Interactive Securities Litigation,
     Civ. No. 06-CV-803-RJS (S.D.N.Y.)
        Labaton Sucharow acted as lead counsel for lead plaintiffs New York City Employees’
        Retirement System, New York City Police Pension Fund and New York City Fire
        Department Pension Fund in a securities class action against Take-Two Interactive
        Software, Inc. (“Take-Two”) and its officers and directors. Lead plaintiffs alleged that
        Take-Two, maker of the “Grand Theft Auto” video game series, improperly backdated
        stock options. On October 20, 2010, the Court granted final approval of the
        $20.1 million settlement and significant corporate governance reforms.

 In re Just for Feet Noteholder Litigation,
     Civ. No. CV-00-C-1404-S (N.D. Ala.)
        Labaton Sucharow, as lead counsel, represented lead plaintiff Delaware Management
        and the Aid Association for Lutherans with respect to claims brought on behalf of
        noteholders. On October 21, 2005, Chief Judge Clemon of the U.S. District Court for
        the Northern District of Alabama preliminarily approved plaintiffs’ settlement with Banc
        of America Securities LLC, the sole remaining defendant in the case, for $17.75 million.
        During the course of the litigation, Labaton Sucharow obtained certification for a class
        of corporate bond purchasers in a ground-breaking decision, AAL High Yield Bond
        Fund v. Ruttenberg, 229 F.R.D. 676 (N.D. Ala. 2005), which is the first decision by a
        federal court to explicitly hold that the market for high-yield bonds such as those at
        issue in the action was efficient.




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 In re American Tower Corporation Securities Litigation,
     Civ. No. 06 CV 10933 (MLW) (D. Mass.)
        Labaton Sucharow represented the Steamship Trade Association-International
        Longshoreman’s Association Pension Fund (STA-ILA) in claims alleging that certain of
        American Tower Corporation’s current and former officers and directors improperly
        backdated the Company’s stock option grants and made materially false and
        misleading statements to the public concerning the Company’s financial results, option
        grant policies and accounting, causing damages to investors. On June 11, 2008, the
        Court granted final approval of the $14 million settlement.

 In re CapRock Communications Corp. Securities Litigation,
     Civ. No. 3-00-CV-1613-R (N.D. Tex.)
        Labaton Sucharow represented a prominent Louisiana-based investment adviser in
        claims alleging violations of the federal securities laws. The case settled for $11 million
        in 2003.

 In re SupportSoft Securities Litigation,
     Civ. No. C 04-5222 SI (N.D. Cal.)
        Labaton Sucharow secured a $10.7 million settlement on October 2, 2007 against
        SupportSoft, Inc. The action alleged that the defendants had artificially inflated the
        price of the Company’s securities by re-working previously entered into license
        agreements for the company’s software in order to accelerate the recognition of
        revenue from those contracts.

 In re InterMune Securities Litigation,
     No. 03-2454 SI (N.D. Cal. 2005)
        Labaton Sucharow commenced an action on behalf of its client, a substantial investor,
        against InterMune, a biopharmaceutical firm, and certain of its officers, alleging
        securities fraud in connection with InterMune’s sales and marketing of a drug for off-
        label purposes. Notwithstanding higher pleading and proof standards in the
        jurisdiction in which the action had been filed, Labaton Sucharow utilized its substantial
        investigative resources and creative alternative theories of liability to successfully
        obtain an early, pre-discovery settlement of $10.4 million. The Court complimented
        Labaton Sucharow on its ability to obtain a substantial benefit for the class in such an
        effective manner.

 In re HCC Insurance Holdings, Inc. Securities Litigation,
     Civ. No. 4:07-cv-801 (S.D. Tex.)
        Labaton Sucharow served as lead counsel in this case alleging that certain of HCC’s
        current and former officers and directors improperly backdated the Company’s stock
        option grants and made materially false and misleading statements to the public
        concerning the Company’s financial results, option grant policies and accounting,
        causing damages to investors. On June 17, 2008, the Court granted final approval of
        the $10 million settlement.




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 In re Adelphia Communications Corp. Securities & Derivative Litigation,
     Civ. No. 03 MD 1529 (LMM) (S.D.N.Y.)
        Labaton Sucharow represents the New York City Employees’ Retirement System (and
        certain other New York City pension funds) and the Division of Investment of the New
        Jersey Department of the Treasury in separate individual actions against Adelphia’s
        officers, auditors, underwriters, and lawyers. To date, Labaton Sucharow has fully
        resolved certain of the claims brought by New Jersey and New York City for amounts
        that significantly exceed the percentage of damages recovered by the class. New
        Jersey and New York City continue to prosecute their claims against the remaining
        defendants.

 STI Classic Funds v. Bollinger Industries, Inc.,
     No. 96-CV-0823-R (N.D. Tex.)
        Labaton Sucharow commenced related suits in both state and federal courts in Texas
        on behalf of STI Classic Funds and STI Classic Sunbelt Equity Fund, affiliates of the
        SunTrust Bank. As a result of Labaton Sucharow’s efforts, the class of Bollinger
        Industries, Inc. investors, on whose behalf the bank sued, obtained the maximum
        recovery possible from the individual defendants and a substantial recovery from the
        underwriter defendants. Notwithstanding a strongly unfavorable trend in the law in the
        State of Texas, and strong opposition by the remaining accountant firm defendant,
        Labaton Sucharow has obtained class certification and continues to prosecute the case
        against that firm.
        Among the institutional investor clients Labaton Sucharow represents and advises are:
          • Arkansas Teacher Retirement System
          • Baltimore County Retirement System
          • Bristol County Retirement Board
          • California Public Employees’ Retirement System
          • City of New Orleans Employees’ Retirement System
          • Connecticut Retirement Plans & Trust Funds
          • Division of Investment of the New Jersey Department of the Treasury
          • Genesee County Employees’ Retirement System
          • Illinois Municipal Retirement Fund
          • Louisiana Municipal Police Employees’ Retirement System
          • Teachers’ Retirement System of Louisiana
          • Macomb County Employees Retirement System
          • Metropolitan Atlanta Rapid Transit Authority
          • Michigan Retirement Systems
          • Middlesex Retirement Board
          • Mississippi Public Employees’ Retirement System
          • New York City Pension Funds
          • New York State Common Retirement Fund
          • Norfolk County Retirement System



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          • Office of the Ohio Attorney General and several of its Retirement Systems
          • Oklahoma Firefighters Pension and Retirement System
          • Plymouth County Retirement System
          • Office of the New Mexico Attorney General and several of its Retirement Systems
          • Rhode Island State Investment Commission
          • San Francisco Employees’ Retirement System
          • State of Oregon Public Employees’ Retirement System
          • State of Wisconsin Investment Board
          • State-Boston Retirement System
          • Steamship Trade Association/International Longshoremen’s Association
          • Virginia Retirement Systems


 Comments About Our Firm By The Courts
        Many federal judges have commented favorably on the Firm’s expertise and results

 achieved in securities class action litigation. Judge John E. Sprizzo complimented the Firm’s

 work in In re Revlon Pension Plan Litigation, Civ. No. 91-4996 (JES) (S.D.N.Y.). In granting final

 approval to the settlement, Judge Sprizzo stated that:

                [t]he recovery is all they could have gotten if they had been
                successful. I have probably never seen a better result for the class
                than you have gotten here.

        Labaton Sucharow was a member of the executive committee of plaintiffs’ counsel in In

 re PaineWebber Limited Partnerships Litigation, Master File No. 94 Civ. 8547 (SHS). In

 approving a class-wide settlement valued at $200 million, Judge Sidney H. Stein of the

 Southern District of New York stated:

                The Court, having had the opportunity to observe first hand the
                quality of class counsel’s representation during this litigation,
                finds that class counsel’s representation of the class has been of
                high caliber in conferences, in oral arguments and in work
                product.

        In In re Prudential-Bache Energy Income Partnerships Securities Litigation, MDL No.

 888 (E.D. La.), an action in which Labaton Sucharow served on the executive committee of




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 plaintiffs’ counsel, Judge Marcel Livaudais, Jr., of the United States District Court for the

 Eastern District of Louisiana, observed that:

                Counsel were all experienced, possessed high professional
                reputations and were known for their abilities. Their cooperative
                effort in efficiently bringing this litigation to a successful
                conclusion is the best indicator of their experience and ability . . . .
                The executive committee is comprised of law firms with national
                reputations in the prosecution of securities class action and
                derivative litigation. The biographical summaries submitted by
                each member of the executive committee attest to the accumulated
                experience and record of success these firms have compiled.

        In Rosengarten v. International Telephone & Telegraph Corp., Civ. No. 76-1249

 (N.D.N.Y.), Judge Morris Lasker noted that the Firm:

                served the corporation and its stockholders with professional
                competence as well as admirable intelligence, imagination and
                tenacity.

        Judge Lechner, presiding over the $15 million settlement in In re Computron Software

 Inc. Securities Class Action Litigation, Civ. No. 96-1911 (AJL) (D.N.J.), where Labaton

 Sucharow served as co-lead counsel, commented that:

                I think it’s a terrific effort in all of the parties involved . . . , and
                the co-lead firms . . . I think just did a terrific job. You [co-lead
                counsel and] Mr. Plasse, just did terrific work in the case, in
                putting it all together . . . .

        In Middlesex County Retirement System v. Monster Worldwide, Inc., No. 07-cv-2237

 (S.D.N.Y.), Judge Rakoff appointed Labaton Sucharow as lead counsel, stating that “the

 Labaton firm is very well known to courts for the excellence of its representation.”

        In addition, Judge Rakoff commented during a final approval hearing that “the quality

 of the representation was superb” and “[this case is a] good example of how [the] securities

 class action device serves laudatory public purposes.”

        During a fairness hearing in the In re American Tower Corporation Securities Litigation,

 No. 06-CV-10933 (MLW) (D. Mass.), Chief Judge Mark L. Wolf stated:


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                 [t]he attorneys have brought to this case considerable experience
                 and skill as well as energy. Mr. Goldsmith has reminded me of
                 that with his performance today and he maybe educated me to
                 understand it better.

         In In re Satyam Computer Services Ltd. Securities Litigation, No. 09-md- 2027

 (S.D.N.Y.), Judge Jones commended lead counsel during the final approval hearing noting

 that the “. . . quality of representation which I found to be very high . . . .”

         In In re DG Fastchannel, Inc. Securities Litigation, No. 10 Civ 6523 (RJS), Judge Sullivan

 remarked in the order granting attorneys’ fees and litigation expenses that “Lead counsel

 conducted the litigation and achieved the settlement with skillful and diligent advocacy.”

         During the final approval hearing in Bruhl, et al. v. PricewaterhouseCoopers, et al., No.

 03-23044 (S.D. Fla.), Judge Kenneth Marra stated:

                 I want to thank all of the lawyers for your professionalism. It’s
                 been a pleasure dealing with you. Same with my staff. You’ve
                 been wonderful. The quality of the work was, you know, top notch
                 magnificent lawyering. And I can’t say that I’m sad to see the case
                 go, but I certainly look forward to having all of you back in court
                 with me again in some other matters. So thank you again for
                 everything you’ve done in terms of the way you’ve handled the
                 case, and I’m going to approve the settlement and the fees.


 In and Around The Community
         As a result of our deep commitment to the community, Labaton Sucharow stands out

 in areas such as pro bono legal work and public and community service.


 Firm Commitments
 The Lawyers’ Committee for Civil Rights Under Law
    Edward Labaton, Member, Board of Directors
         The Firm is a long-time supporter of The Lawyers’ Committee for Civil rights Under

 Law, a nonpartisan, nonprofit organization formed in 1963 at the request of President John F.




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 Kennedy. The Lawyer’s Committee involves the private bar in providing legal services to

 address racial discrimination.

        Labaton Sucharow attorneys have contributed on the federal level to United States

 Supreme Court nominee analyses (analyzing nominees for their views on such topics as ethnic

 equality, corporate diversity and gender discrimination) and national voters’ rights initiatives.


 Volunteer Lawyers For The Arts (VLA)
        Labaton Sucharow also supports Volunteer Lawyers for the Arts, working as part of

 VLA’s pro bono team representing low-income artists and nonprofit arts organizations. VLA is

 the leading provider of educational and legal services, advocacy and mediation to the arts

 community.


 Change For Kids
        Labaton Sucharow supports Change for Kids and became its Lead School Partner as a

 Patron of P.S. 73 in the South Bronx.


 Individual Attorney Commitments
        Labaton Sucharow attorneys serve in a variety of pro bono and community service

 capacities:

          • Pro bono representation of mentally ill tenants facing eviction, appointed as
            Guardian ad litem in several housing court actions.
          • Recipient of a Volunteer and Leadership Award from a tenants’ advocacy
            organization for work defending the rights of city residents and preserving their
            fundamental sense of public safety and home.
          • Board Member of the Ovarian Cancer Research Fund – the largest private funding
            agency of its kind supporting research into a method of early detection and,
            ultimately, a cure for ovarian cancer.

        Our attorneys also participate in many charitable organizations, including:
          • Big Brothers/Big Sisters of New York City
          • Boys and Girls Club of America
          • City Harvest



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         • City Meals-on-Wheels
         • Cycle for Survival
         • Cystic Fibrosis Foundation
         • Dana Farber Cancer Institute
         • Food Bank for New York City
         • Fresh Air Fund
         • Habitat for Humanity
         • Lawyers Committee for Civil Rights
         • Legal Aid Society
         • The National Lung Cancer Partnership
         • National MS Society
         • National Parkinson Foundation
         • New York Cares
         • Peggy Browning Fund
         • Sanctuary for Families
         • Sandy Hook School Support Fund
         • Save the Children
         • The Sidney Hillman Foundation
         • Special Olympics
         • Williams Syndrome Association


 Women’s Initiative and Minority Scholarship
        Recognizing that opportunities for advancement and collaboration have not always

 been equitable to women in business, Labaton Sucharow launched its Women’s Networking

 and Mentoring Initiative in 2007. The Firm founded a Women’s Initiative to reflect our

 commitment to the advancement of women professionals. The goal of the Initiative is to bring

 professional women together to collectively advance women’s influence in business. Each

 event showcases a successful woman role model as a guest speaker. We actively discuss our

 respective business initiatives and hear the guest speaker’s strategies for success. Labaton

 Sucharow mentors and promotes the professional achievements of the young women in our

 ranks and others who join us for events. The Firm also is a member of the National

 Association of Women Lawyers (NAWL). For more information regarding Labaton Sucharow’s



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 Women’s Initiative, please visit http://www.labaton.com/en/about/women/Womens-

 Initiative.cfm

         Further, demonstrating our commitment to diversity in law and to introduce minority

 students to Labaton Sucharow, in 2006, we established the Labaton Sucharow Minority

 Scholarship and Internship. The annual award – a grant and a summer associate position – is

 presented to a first-year minority student from a metropolitan New York law school who has

 demonstrated academic excellence, community commitment and personal integrity.

         The Firm has also instituted a diversity internship in which we invite two students from

 Hunter College to join us each summer. These interns are rotated through our various

 departments, shadowing Firm partners and getting a feel for the inner workings of Labaton

 Sucharow.




 Attorneys
         Among the attorneys at Labaton Sucharow who are involved in the prosecution of

 securities actions are partners Lawrence A. Sucharow, Martis Alex, Mark S. Arisohn, Christine

 S. Azar, Eric J. Belfi, Joel H. Bernstein, Javier Bleichmar, Thomas A. Dubbs, Joseph A. Fonti,

 Jonathan Gardner, David J. Goldsmith, Louis Gottlieb, James W. Johnson, Christopher J.

 Keller, Edward Labaton, Christopher J. McDonald, Jonathan M. Plasse, Ira A. Schochet,

 Michael W. Stocker, Jordan A. Thomas and Stephen W. Tountas; and of counsel attorneys

 Dominic J. Auld, Mark S. Goldman, Terri Goldstone, Thomas G. Hoffman, Jr., Richard T. Joffe,

 Barry M. Okun, Paul J. Scarlato and Nicole M. Zeiss. A short description of the qualifications

 and accomplishments of each follows.




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 Lawrence A. Sucharow, Chairman
                                                                          lsucharow@labaton.com
        With almost four decades of specialized experience, the Firm’s Chairman, Lawrence

 Sucharow is an internationally recognized trial lawyer and a leader of the class action bar.

 Under his guidance, the Firm has earned its position as one of the top plaintiffs securities and

 antitrust class action litigation boutiques in the world. As Chairman, Larry focuses on

 counseling the Firm’s large institutional clients, developing creative and compelling strategies

 to advance and protect clients’ interests, and assist in the prosecution and resolution of many

 of the Firm’s leading cases.

        Over the course of his career, Larry has prosecuted hundreds of cases and the Firm has

 recovered more than $4 billion in groundbreaking securities, antitrust, business transaction,

 product liability and other class actions. In fact, a landmark case tried in 2002 – In re Real

 Estate Associates Limited Partnership Litigation – was the very first securities action

 successfully tried to a jury verdict following the enactment of the Private Securities Litigation

 Reform Act (PSLRA). Experience such as this has made Larry uniquely qualified to evaluate

 and successfully prosecute class actions.

        Other representative matters include: In re CNL Resorts, Inc. Securities Litigation ($225

 million settlement); In re Paine Webber Incorporated Limited Partnerships Litigation ($200

 million settlement); In re Prudential Securities Incorporated Limited Partnerships Litigation

 ($110 million partial settlement); In re Prudential Bache Energy Income Partnerships Securities

 Litigation ($91 million settlement); and Shea v. New York Life Insurance Company (over $92

 million settlement).

        In recognition of his career accomplishments and standing at the Bar, in 2010, Larry

 was selected by Law360 as one the Ten Most Admired Securities Attorneys in the United

 States. Further, he is one of a small handful of plaintiff’s securities lawyers in the United States




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 independently selected by each of Chambers and Partners USA, The Legal 500 and

 Benchmark Plaintiff for their respective highest rankings. Larry was honored by his peers by

 his election to serve a two-year term as President of the National Association of Shareholder

 and Consumer Attorneys, a membership organization of approximately 100 law firms that

 practice complex civil litigation including class actions. A longtime supporter of the Federal

 Bar Council, Larry serves as a trustee of the Federal Bar Council Foundation. He is a member

 of the Federal Bar Council’s Committee on Second Circuit Courts, and the Federal Courts

 Committee of the New York County Lawyers' Association. He is also a member of the

 Securities Law Committee of the New Jersey State Bar Association and was the Founding

 Chairman of the Class Action Committee of the Commercial and Federal Litigation Section of

 the New York State Bar Association, a position he held from 1988-1994. In addition, Larry

 serves on the Advocacy Committee of the World Federation of Investors Corporation, a

 worldwide umbrella organization of national shareholder associations. In addition, Larry serves

 on the Advocacy Committee of the World Federation of Investors Corporation, a worldwide

 umbrella organization of national shareholder associations.

        Larry has received a rating of AV Preeminent from the publishers of the Martindale-

 Hubbell directory for the past 25 years.

        Larry is admitted to practice in the States of New York, New Jersey and Arizona, as

 well as before the Supreme Court of the United States, the United States Court of Appeals for

 the Second Circuit, and the United States District Courts for the Southern and Eastern Districts

 of New York, the District of New Jersey, and the District of Arizona.



 Martis Alex, Partner
                                                                            malex@labaton.com
        Martis Alex concentrates her practice on prosecuting complex litigation on behalf of

 institutional investors. She has extensive experience litigating complex nationwide cases,



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 including securities class actions as well as product liability and consumer fraud litigation. She

 has successfully represented investors and consumers in cases that achieved cumulative

 recoveries of hundreds of millions of dollars for plaintiffs. Martis currently represents several

 foreign financial institutions, seeking recoveries of over a billion dollars in losses in their RMBS

 investments. She also currently represents domestic pension funds in securities related

 litigation.

         Martis was lead trial counsel and Chair of the Executive Committee in the Zenith

 Laboratories Securities Litigation, a federal securities fraud class action which settled during

 trial and achieved a significant recovery for investors. She also was lead trial counsel in the

 Napp Technologies Litigation, where she won substantial recoveries for families and

 firefighters injured in a chemical plant explosion.

         Martis played a key role in litigating In re American International Group, Inc. Securities

 Litigation (over $1 billion in settlements, pending final approval). She was also an integral part

 of the team that successfully litigated In re Bristol-Myers Squibb Securities Litigation, which

 resulted in a $185 million settlement for investors and secured meaningful corporate

 governance reforms that will affect future consumers and investors alike.

         Martis served as co-lead counsel in several securities class actions that achieved

 substantial awards for investors, including Cadence Design Securities Litigation, Halsey Drug

 Securities Litigation, Slavin v. Morgan Stanley, Lubliner v. Maxtor Corp. and Baden v.

 Northwestern Steel and Wire. She also served on the Executive Committees in national

 product liability actions against the manufacturers of breast implants, orthopedic bone screws,

 and atrial pacemakers, and was a member of the Plaintiffs’ Legal Committee in the national

 litigation against the tobacco companies.




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        Martis is the author of “Women in the Law: Many Mentors, Many Lessons: A Baby

 Boomer’s Perspective,” New York Law Journal, November 8, 2010 and the co-author of “Role

 of the Event Study in Loss Causation Analysis,” New York Law Journal, August 20, 2009.

        Prior to entering private practice, Martis was a trial lawyer with the Sacramento,

 California District Attorney’s Office. She is a frequent speaker on various legal topics at

 national conferences and was an invited speaker at the Federal Judicial Conference. She was

 also an invited participant at the Aspen Institute Justice and Society Seminar and is a recipient

 of the American College of Trial Lawyers’ Award for Excellence in Advocacy.

        Martis is admitted to practice in the States of California and New York as well as before

 the Supreme Court of the United States, the United States Court of Appeals for the Second

 Circuit and the United States District Courts for the Western District of Washington, the

 Southern, Eastern and Western Districts of New York, and the Central District of California.



 Mark S. Arisohn, Partner
                                                                         marisohn@labaton.com
        Mark S. Arisohn concentrates his practice on prosecuting complex securities fraud

 cases on behalf of institutional investors. Mark is an accomplished litigator, with nearly 40

 years of extensive trial experience in jury and non-jury matters in the state and federal courts

 nationwide. He has also argued in the New York Court of Appeals, the United States Court of

 Appeals for the Second Circuit and appeared before the United States Supreme Court in the

 landmark insider trading case of Chiarella v. United States.

        Mark’s wide-ranging practice has included prosecuting and defending individuals and

 corporations in cases involving securities fraud, mail and wire fraud, bank fraud and RICO

 violations. He has represented public officials, individuals and companies in the construction

 and securities industries as well as professionals accused of regulatory offenses and

 professional misconduct. He also has appeared as trial counsel for both plaintiffs and



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 defendants in civil fraud matters and corporate and commercial matters, including shareholder

 litigation, business torts, unfair competition and misappropriation of trade secrets.

        Most recently, Mark was lead trial counsel in a securities class action against

 BankAtlantic Bancorp, Inc. and several of its highest officers. After a four-week trial in federal

 court, the jury found BankAtlantic and its two senior officers liable for securities fraud. This

 was only the tenth securities fraud class action to go to trial since passage of the Private

 Securities Litigation Reform Act in 1995 and is the first securities class action case arising out

 of the financial crisis to go to jury verdict. Litigation on aspects of the case is ongoing before

 the Eleventh Circuit Court of Appeals.

        During his impressive career as a trial lawyer, Mark has also authored numerous articles

 including: “Electronic Eavesdropping,” New York Criminal Practice, LEXIS - Matthew Bender,

 2005; “Criminal Evidence,” New York Criminal Practice, Matthew Bender, 1986; and

 “Evidence,” New York Criminal Practice, Matthew Bender, 1987.

        Mark is an active member of the Association of the Bar of the City of New York and has

 served on its Judiciary Committee, the Committee on Criminal Courts, Law and Procedure, the

 Committee on Superior Courts and the Committee on Professional Discipline. He serves as a

 mediator for the Complaint Mediation Panel of the Association of the Bar of the City of New

 York where he mediates attorney client disputes, and as a hearing officer for the New York

 State Commission on Judicial Conduct where he presides over misconduct cases brought

 against judges.

        Recently, Mark was named to the Recommended List in the field of Securities Litigation

 by The Legal 500 and recognized by Benchmark Plaintiff as a Local Securities Litigation Star.

 He has also received a rating of AV Preeminent from the publishers of the Martindale-Hubbell

 directory.




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        Mark is admitted to practice in the State of New York and the District of Columbia as

 well as before the Supreme Court of the United States, the United States Court of Appeals for

 the Second Circuit, and the United States District Courts for the Southern, Eastern and

 Northern Districts of New York, the Northern District of Texas, and the Northern District of

 California.



 Christine S. Azar, Partner
                                                                              cazar@labaton.com
        Christine S. Azar is the Partner in Charge of Labaton Sucharow’s Wilmington, Delaware

 Office. A longtime advocate of shareholders’ rights, Christine concentrates her practice on

 prosecuting complex merger and derivative litigation in the Delaware Court of Chancery and

 throughout the United States.

        Christine’s caseload represents some of the most sophisticated litigation in her field.

 Currently, she is acting as co-lead counsel in In re El Paso Corporation Shareholder Litigation

 in the Delaware Court of Chancery in which shareholders allege that acquisition of El Paso by

 Kinder Morgan, Inc. was improperly influenced by conflicted financial advisors and

 management. She is also a key member of the team representing Norfolk County Retirement

 System in In re BJ’s Wholesale Club Inc. Shareholder Litigation, alleging a breach of fiduciary

 responsibility by BJ’s board of directors related to a buyout by private equity firms. In In re

 Synthes, Inc. Shareholder Litigation, Christine represents shareholders of Synthes alleging the

 proposed merger between Synthes and Johnson & Johnson is not fair in terms of valuation

 and is the result of a flawed negotiating process by the controlling shareholder.

        In recent years, Christine has worked on some of the most groundbreaking cases in the

 field of merger and derivative litigation. Acting as co-lead counsel in In re RehabCare Group,

 Inc. Shareholders Litigation, Christine was part of the team that structured a settlement that

 included a cash payment to shareholders as well as key deal reforms such as enhanced



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 disclosures and an amended merger agreement. Representing shareholders in In re

 Compellent Technologies, Inc. Shareholder Litigation, regarding the proposed acquisition of

 Compellent Technologies Inc. by Dell, Inc., Christine was integral in negotiating a settlement

 that included key deal improvements including elimination of the “poison pill” and standstill

 agreement with potential future bidders as well as a reduction of the termination fee amount.

        Prior to joining Labaton Sucharow, Christine practiced corporate litigation at Blank

 Rome LLP with a primary focus on disputes related to corporate mismanagement in courts

 nationwide as well as in the Delaware Court of Chancery. Christine began her career at Grant

 & Eisenhofer, P.A., where she specialized in the representation of institutional investors in

 federal and state securities, corporate governance, and breach of fiduciary duty actions.

 There she served as counsel in In re Hayes Lemmerz International Bondholder Litigation and In

 re Adelphia Communications Securities Litigation.

        Christine writes regularly on issues of shareholder concern in the national press and is a

 featured speaker on many topics related to financial reform. Most recently, she authored

 “Mitigating Risk in a Growing M&A Market,” The Deal, June 12, 2012 and “Will ‘Say on Pay’

 Votes Prompt Firms to Listen?,” American Banker, May 1, 2012.

        In recognition of her many accomplishments, Christine was recently featured on The

 National Law Journal’s Plaintiffs’ Hot List, recommended by The Legal 500 and named a Local

 Securities Litigation Star in Delaware by Benchmark Plaintiff.

        Christine received her J.D. and graduated cum laude from University of Notre Dame

 Law School and received a B.A. from James Madison University.

        In addition to her active legal practice, Christine serves as a Volunteer Guardian Ad

 Litem in the Office of the Child Advocate. In this capacity, she has represented children in

 foster care in the state of Delaware to ensure the protection of their legal rights.




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        Christine is admitted to practice in the States of Delaware, New Jersey and

 Pennsylvania as well as before the United States Court of Appeals for the Third Circuit and the

 United States District Courts for the District of Delaware, the District of New Jersey, and the

 Eastern District of Pennsylvania.



 Eric J. Belfi, Partner
                                                                               ebelfi@labaton.com
        Representing many of the world’s leading pension funds and other institutional

 investors, Eric J. Belfi concentrates his practice on securities and shareholder litigation. Eric is

 an accomplished litigator with a wealth of experience in a broad range of commercial matters.

        Eric is an integral member of numerous high-profile securities cases that have risen

 from the credit crisis, including the prosecution against Goldman Sachs. In In re Goldman

 Sachs Group, Inc Securities Litigation, he played a significant role in the investigation and

 drafting of the operative compliant.

        Eric has had pivotal roles in securing settlements in international cases that serve as

 models for the application of U.S. securities law to international entities. In a case involving

 one of the most egregious frauds on record, In re Satyam Computer Securities Services Ltd.

 Securities Litigation, Eric was a key member of the team that represented the UK-based

 Mineworkers’ Pension Scheme. He helped to successfully secure $150.5 million in collective

 settlements and established that Satyam misrepresented the company’s earnings and assets.

 Representing two of Europe’s leading pension funds, Deka Investment GmbH and Deka

 International S.A., Luxembourg, in In re General Motors Corp. Securities Litigation, Eric was

 integral in securing a $303 million settlement in a case regarding multiple accounting

 manipulations and overstatements by General Motors. Eric was also actively involved in

 securing a $10.5 million partial settlement in In re Colonial BancGroup, Inc. Securities

 Litigation, regarding material misstatements and omissions in SEC filings by Colonial



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 BancGroup and certain underwriters. Currently, Eric is representing pension funds in a

 European litigation against Vivendi.

        Eric's leadership in the Financial Products & Services Litigation Practice allows Labaton

 Sucharow to uncover and prosecute malfeasant investment bankers in cutting-edge securities

 litigations. He is currently litigating two cases which arose out of deceptive practices by

 custodial banks relating to certain foreign currency transactions; he serves as lead counsel to

 Arkansas Teachers Retirement System in a class action against the State Street Corporation

 and certain affiliated entities and he is also representing the Commonwealth of Virginia in its

 False Claims Act case against Bank of New York Mellon, Inc.

        Eric’s M&A and derivative experience includes noteworthy cases such as In re NYSE

 Euronext Shareholder Litigation and In re Medco Health Solutions Inc. Shareholders Litigation.

 In the NYSE Euronext shareholder case, Eric was a key member of the team that secured a

 proposed settlement which would have provided a special dividend of nearly a billion dollars

 to NYSE shareholders if the transaction was completed. In the Medco/Express Script merger,

 Eric was integrally involved in the negotiation of the settlement which included a significant

 reduction in the Termination Fee.

        Eric’s prior experience included serving as an Assistant Attorney General for the State

 of New York and as an Assistant District Attorney for the County of Westchester. As a

 prosecutor, Eric investigated and prosecuted white-collar criminal cases, including many

 securities law violations. He presented hundreds of cases to the grand jury and obtained

 numerous felony convictions after jury trials.

        Eric is a frequent speaker on the topic of shareholder litigation and U.S. class actions in

 European countries. He also participated in a panel discussion on socially responsible

 investments for public pension funds during the New England Public Employees' Retirement

 Systems Forum. He co-authored “The Proportionate Trading Model: Real Science or Junk



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 Science?” 52 Cleveland St. L. Rev. 391 (2004-05) and “International Strategic Partnerships to

 Prosecute Securities Class Actions,” Investment & Pensions Europe, May 2006.

        Eric is admitted to practice in the State of New York as well as before the United States

 District Courts for the Southern and Eastern Districts of New York, the Eastern District of

 Michigan, the District of Colorado, the District of Nebraska, and the Eastern District of

 Wisconsin.



 Joel H. Bernstein, Partner
                                                                           jbernstein@labaton.com
        With more than 35 years of experience in complex litigation, Joel H. Bernstein

 concentrates his practice on the protection of investors who have been victimized by securities

 fraud and breach of fiduciary duty. His significant expertise in the area of shareholder

 litigation has resulted in the recovery of more than a billion dollars in damages to wronged

 investors.

        As a recognized leader in his field, Joel advises large public pension funds, banks,

 mutual funds, insurance companies, hedge funds and other institutional and individual

 investors with respect to securities-related litigation in the federal and state courts as well as in

 arbitration proceedings before the NYSE, FINRA and other self-regulatory organizations.

        Joel heads up the Firm’s RMBS (Residential Mortgage-Backed Securities) team,

 representing large domestic and foreign institutional investors that invested more than $5

 billion in failed investments, which were at the heart of the current global economic crisis. The

 RMBS team is comprised of more than 20 attorneys and is currently prosecuting over 30

 separate matters. Joel has developed significant experience with RMBS-related matters and

 served as lead counsel for one of the most prototypical cases arising from the financial crisis,

 In re Countrywide Corporation Securities Litigation. In this matter, he obtained a settlement




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 of $624 million for co-lead plaintiffs, New York State Common Retirement Fund and the New

 York City Pension Funds.

        Joel is currently lead counsel to a class of investors in Massey Energy Corporation

 stemming from the horrific 2010 mining disaster at the Company’s Upper Big Branch coal

 mine. Joel is also currently litigating two cases which arose out of deceptive practices by

 custodial banks relating to certain foreign currency transactions; he serves as lead counsel to

 Arkansas Teachers Retirement System in a class action against the State Street Corporation

 and certain affiliated entities and he is also representing the Commonwealth of Virginia in its

 False Claims Act case against Bank of New York Mellon, Inc.

        In the past, Joel has played a central role in numerous high profile cases including: In re

 Paine Webber Incorporated Limited Partnerships Litigation ($200 million settlement); In re

 Prudential Securities Incorporated Limited Partnerships Litigation ($130 million settlement); In

 re Prudential Bache Energy Income Partnerships Securities Litigation ($91 million settlement);

 Shea v. New York Life Insurance Company ($92 million settlement); and Saunders et al. v.

 Gardner ($10 million—the largest punitive damage award in the history of the NASD at that

 time). In addition, Joel was instrumental in securing a $117.5 million settlement in In re

 Mercury Interactive Securities Litigation, the largest settlement at the time in a securities fraud

 litigation based upon options backdating.

        Given his depth of experience, Joel is frequently sought out by the press to comment

 on securities law and has also authored numerous articles on related issues, including “Stand

 Up to Your Stockbroker, Your Rights As An Investor.” He is a member of the American Bar

 Association and the New York County Lawyers' Association.

        Joel was recognized by The Legal 500 in the Recommended List in the field of

 Securities Litigation and by Benchmark Plaintiff as a Securities Litigation Star. He was also

 featured in The AmLaw Litigation Daily as Litigator of the Week on May 13, 2010 for his work


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 on In re Countrywide Financial Corporation Securities Litigation. Joel has received a rating of

 AV Preeminent from the publishers of the Martindale-Hubbell directory.

        He is admitted to practice in the State of New York as well as before the United States

 Courts of Appeals for the First, Second, Third and Ninth Circuits and the United States District

 Courts for the Southern and Eastern Districts of New York. He is a member of the American

 Bar Association and the New York County Lawyers’ Association.



 Javier Bleichmar, Partner
                                                                            jbleichmar@labaton.com
        Javier Bleichmar concentrates his practice on prosecuting complex securities fraud

 cases on behalf of institutional investors. Since joining Labaton Sucharow, Javier was

 instrumental in securing a $77 million settlement in the In re St. Paul Travelers Securities

 Litigation II on behalf of the lead plaintiff, the Educational Retirement Board of New Mexico.

 Most recently, Javier played a key role in litigating In re Bear Stearns Companies, Inc.

 Securities Litigation where the Firm secured a $275 million settlement with Bear Stearns

 Companies, plus a $19.9 million settlement with Deloitte & Touche LLP, Bear Stearns’ outside

 auditor (pending Court approval).

        Javier is very active in educating European institutional investors on developing trends

 in the law, particularly the ability of international investors to participate in securities class

 actions in the United States. Through these efforts, many of Javier’s European clients were

 able to join the Foundation representing investors in the first securities class action settlement

 under a recently enacted Dutch statute against Royal Dutch Shell.

        Prior to joining Labaton Sucharow, Javier practiced securities litigation at Bernstein

 Litowitz Berger & Grossmann LLP, where he prosecuted securities actions on behalf of

 institutional investors. He was actively involved in the In re Williams Securities Litigation, which




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 resulted in a $311 million settlement, as well as securities cases involving Lucent Technologies,

 Inc., Conseco, Inc. and Biovail Corp.

        During his time at Columbia Law School, he was a managing editor of the Journal of

 Law and Social Problems. Additionally, he was a Harlan Fiske Stone Scholar. As a law student,

 Javier served as a law clerk to the Honorable Denny Chin, United States District Court Judge

 for the Southern District of New York.

        After law school, Javier authored the article “Deportation As Punishment: A Historical

 Analysis of the British Practice of Banishment and Its Impact on Modern Constitutional

 Law,”14 Georgetown Immigration Law Journal 115 (1999).

        Javier is a native Spanish speaker and fluent in French.

        Javier is admitted to practice in the State of New York as well as before the United

 States Courts of Appeals for the Second, Eighth and Ninth Circuits and the United States

 District Courts for the Southern and Eastern Districts of New York, the Northern District of

 Oklahoma, the Western District of Washington, the Southern District of Florida, the Eastern

 District of Missouri, and the Northern District of Illinois.



 Thomas A. Dubbs, Partner
                                                                              tdubbs@labaton.com
        A recognized leader in securities-related litigation, Thomas A. Dubbs concentrates his

 practice on the representation of institutional investors in securities cases.

        Tom has served as lead or co-lead counsel in some of the most important federal

 securities class actions in recent years, including those against American International Group,

 Goldman Sachs, the Bear Stearns Companies, Broadcom and WellCare. Tom has also played

 an integral role in securing significant settlements in several high-profile cases including: In re

 American International Group, Inc. Securities Litigation (settlements totaling more than $1

 billion pending final court approval); In re Bear Stearns Companies, Inc. Securities Litigation



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 ($275 million settlement with Bear Stearns Companies, plus a $19.9 million settlement with

 Deloitte & Touche LLP, Bear Stearns’ outside auditor pending court approval); In re

 HealthSouth Securities Litigation ($671 million settlement); Eastwood Enterprises LLC v. Farha

 et al. (WellCare Securities Litigation) (over $200 million settlement); In re Broadcom Corp.

 Securities Litigation ($160.5 million settlement and the case against the auditor, Ernst &

 Young, is ongoing); In re St. Paul Travelers Securities Litigation ($144.5 million settlement); and

 In re Vesta Insurance Group, Inc. Securities Litigation ($79 million settlement).

        Representing an affiliate of the Amalgamated Bank, the largest labor-owned bank in

 the United States, a team led by Tom successfully litigated a class action against Bristol-Myers

 Squibb, which resulted in a settlement of $185 million as well as major corporate governance

 reforms. He has argued before the United States Supreme Court and has argued ten appeals

 dealing with securities or commodities issues before the United States Courts of Appeals.

        Due to his well-known expertise in securities law, Tom frequently lectures to

 institutional investors and other groups such as the Government Finance Officers Association,

 the National Conference on Public Employee Retirement Systems and the Council of

 Institutional Investors. He is also a prolific author of articles related to his field. His

 publications include: “Shortsighted?,” Investment Dealers’ Digest, May 29, 2009; “A Scotch

 Verdict on ‘Circularity’ and Other Issues,” 2009 Wis. L. Rev. 455 (2009). He has also written

 several columns in U.K.-wide publications regarding securities class action and corporate

 governance. He is the co-author of the following articles: “In Debt Crisis, An Arbitration

 Alternative,” The National Law Journal, March 16, 2009; “The Impact of the LaPerriere

 Decision: Parent Companies Face Liability,” Directors Monthly, February 1, 2009; “Auditor

 Liability in the Wake of the Subprime Meltdown,” BNA’s Accounting Policy & Practice Report,

 November 14, 2009; and “U.S. Focus: Time for Action,” Legal Week, April 17, 2008.




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         Prior to joining Labaton Sucharow, Tom was Senior Vice President & Senior Litigation

 Counsel for Kidder, Peabody & Co. Incorporated where he represented the company in many

 class actions, including the First Executive and Orange County litigations and was first chair in

 many securities trials. Before joining Kidder, Tom was head of the litigation department at

 Hall, McNicol, Hamilton & Clark, where he was the principal partner representing Thomson

 McKinnon Securities Inc. in many matters including the Petro Lewis and Baldwin-United class

 action litigations.

         As a result of his many accomplishments, Tom has received the highest ranking from

 Chambers and Partners, an honor he shares with only five other plaintiffs’ securities lawyers in

 the country. He appears on the Recommended List in the field of Securities Litigation and was

 one of four U.S. plaintiffs’ securities lawyers to be named a Leading Lawyer by The Legal 500.

 He has also been recognized by The National Law Journal, Lawdragon 500 and was listed in

 Benchmark Plaintiff as a Local Securities Litigation Star in New York. Tom has received a

 rating of AV Preeminent from the publishers of the Martindale-Hubbell directory.

         He is a member of the New York State Bar Association, the Association of the Bar of

 the City of New York and is a Patron of the American Society of International Law.

         Tom is admitted to practice in the State of New York as well as before the Supreme

 Court of the United States, the United States Courts of Appeals for the Second, Ninth and

 Eleventh Circuits, and the United States District Court for the Southern District of New York.



 Joseph A. Fonti, Partner
                                                                              jfonti@labaton.com
         Joseph A. Fonti concentrates his practice on prosecuting complex securities and

 investment-related matters on behalf of institutional investors.




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        Joseph’s client commitment, advocacy skills, and results have earned him recognition

 as a Law360 “Rising Star.” Joseph was one of only five securities lawyers in the country—and

 the only investor-side securities litigator—to receive the distinction.

        In recent years, Joseph has played a significant role in several high-profile cases at the

 center of the global financial crisis. For instance, he is responsible for prosecuting the

 shareholder suit against Morgan Stanley, relating to the bank’s multi-billion trading loss on its

 sub-prime mortgage bets. Joseph also prosecuted the shareholder action against Fannie

 Mae, which was at ground-zero of the nation’s financial collapse. He is also active in Labaton

 Sucharow’s prosecution of claims on behalf of domestic and international private-sector

 investors with more than $5 billion of residential mortgage-backed securities (RMBS).

        With over a decade of experience in investor litigation, Joseph’s career is marked by

 notable and historic success in the area of auditor liability and stock options backdating.

 Joseph represented shareholders in the $671 million recovery in In re HealthSouth Securities

 Litigation. Particularly, Joseph played a significant role in recovering $109 million from

 HealthSouth’s outside auditor Ernst & Young LLP, one of the largest recoveries to date against

 an auditing firm. Joseph also contributed to securing a $160.5 million settlement in In re

 Broadcom Corp. Securities Litigation, which, at the time, was the second largest cash

 settlement involving a company accused of options backdating. The case against the auditor,

 Ernst & Young, is ongoing.

        In addition to representing several of the most significant U.S. institutional investors,

 Joseph has represented a number of Canada’s most significant pension systems. Currently,

 Joseph is responsible for prosecuting the securities litigation against Computer Sciences

 Corporation on behalf of one of Canada’s largest pension investors. Joseph also led the

 prosecution of In re NovaGold Resources Inc. Securities Litigation, which resulted in the

 largest settlement under Canada’s securities class action laws.



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        Additionally, Joseph has achieved notable success as an appellate advocate. Joseph

 successfully argued before the Second Circuit Court of Appeals in In re Celestica Inc.

 Securities Litigation. The Second Circuit reversed an earlier dismissal, and turned the tide of

 recent decisions by realigning pleading standards in favor of investors. Joseph was also

 instrumental in the advocacy before the Ninth Circuit Court of Appeals in the In re Broadcom

 Corp. Securities Litigation. This appellate victory marked the first occasion a court sustained

 allegations against an outside auditor related to options backdating.

        Prior to joining the Firm, Joseph practiced securities litigation at Bernstein Litowitz

 Berger & Grossmann LLP, where he prosecuted several high-profile matters involving

 WorldCom, Bristol-Myers, Omnicom and Biovail. Joseph’s advocacy contributed to historic

 recoveries for shareholders, including the $6.15 billion recovery in the WorldCom litigation

 and the $300 million recovery in the Bristol-Myers litigation.

        Joseph began his legal career at Sullivan & Cromwell, where he represented Fortune

 100 corporations and financial institutions in complex securities litigations and in multi-faceted

 SEC investigations and enforcement actions.

        During his time at New York University School of Law, Joseph served as a law clerk to

 the Honorable David Trager, United States District Court Judge for the Eastern District of New

 York. Joseph was also active in the Marden Moot Court Competition and served as a Student

 Senator-at-Large of the NYU Senate.

        Joseph is a member of the New York State Bar Association and the Association of the

 Bar of the City of New York.

        An active member of his legal and local community, Joseph has represented victims of

 domestic violence in affiliation with inMotion, an advocacy organization that provides pro

 bono legal services to indigent women.




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         Joseph is admitted to practice in the State of New York as well as before the Supreme

 Court of the United States, the United States Courts of Appeals for the Ninth and Eleventh

 Circuits, and the United States District Courts for the Southern and Eastern Districts of New

 York.



 Jonathan Gardner, Partner
                                                                          jgardner@labaton.com
         Jonathan Gardner concentrates his practice on prosecuting complex securities fraud

 cases on behalf of institutional investors. An experienced litigator, he has played an integral

 role in securing some of the largest class action recoveries against corporate offenders since

 the onset of the global financial crisis.

         Jonathan has led the Firm’s representation of investors in many recent high-profile

 cases including Rubin v. MF Global Ltd., et al., which involved allegations of material

 misstatements and omissions in a Registration Statement and Prospectus issued in connection

 with MF Global’s IPO in 2007. In November 2011, the case resulted in a recovery of $90

 million for investors. Jonathan also represented lead plaintiff City of Edinburgh Council as

 Administering Authority of the Lothian Pension Fund in In re Lehman Brothers Equity/Debt

 Securities Litigation, which resulted in settlements totaling $516 million against Lehman

 Brothers’ former officers and directors as well as most of the banks that underwrote Lehman

 Brothers’ offerings. In representing lead plaintiff Massachusetts Bricklayers and Masons Trust

 Funds in an action against Deutsche Bank, Jonathan secured a $32.5 million dollar recovery for

 a class of investors injured by the Bank’s conduct in connection with certain residential

 mortgage-backed securities. Most recently, Jonathan was the lead attorney in In re Carter’s

 Inc. Securities Litigation that was partially settled for $20 million.

         Jonathan has been responsible for prosecuting several of the Firm's options

 backdating cases, including In re Monster Worldwide, Inc. Securities Litigation ($47.5 million



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 settlement); In re SafeNet, Inc. Securities Litigation ($25 million settlement); In re Semtech

 Securities Litigation ($20 million settlement); and In re MRV Communications, Inc. Securities

 Litigation ($10 million settlement). He also was instrumental in In re Mercury Interactive Corp.

 Securities Litigation, which settled for $117.5 million, a figure representing one of the largest

 settlements or judgments in a securities fraud litigation based upon options backdating.

        Jonathan also represented the Successor Liquidating Trustee of Lipper Convertibles, a

 convertible bond hedge fund, in actions against the Fund's former independent auditor and a

 member of the Fund's general partner as well as numerous former limited partners who

 received excess distributions. He has successfully recovered over $5.2 million for the

 Successor Liquidating Trustee from the limited partners and $29.9 million from the former

 auditor.

        Jonathan is the co-author of “Does ‘Dukes’ Require Full ‘Daubert’ Scrutiny at Class

 Certification,” New York Law Journal, November 25, 2011 and "Pre-Confirmation Remedies to

 Assure Collection of Arbitration Rewards," New York Law Journal, October 12, 2010.

        He is a member of the New York State Bar Association and the Association of the Bar

 of the City of New York.

        Jonathan is admitted to practice in the State of New York as well as before the United

 States Court of Appeals for the Ninth and Eleventh Circuits and the United States District

 Courts for the Southern and Eastern Districts of New York, and the Eastern District of

 Wisconsin.



 David J. Goldsmith, Partner
                                                                          dgoldsmith@labaton.com
        David J. Goldsmith has nearly 15 years of experience representing public and private

 institutional investors in a wide variety of securities and class action litigations. In recent years,




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 David's work has directly led to record recoveries against corporate offenders in some of the

 most complex and high profile securities class actions.

        David was an integral member of the team representing the New York State Common

 Retirement Fund and New York City pension funds as lead plaintiffs in In re Countrywide

 Financial Corporation Securities Litigation, which settled for $624 million. David currently

 represents these clients in an appeal brought by Countrywide's 401(k) plan in the Ninth Circuit

 concerning complex settlement allocation issues.

        Current assignments include representations of a large German banking institution and

 a major Irish special-purpose vehicle in multiple actions alleging fraud in connection with

 residential mortgage-backed securities issued by Barclays, Credit Suisse, Goldman Sachs,

 Royal Bank of Scotland, and others; representation of a state pension fund in a notable action

 alleging deceptive acts and practices by State Street Bank in connection with foreign currency

 exchange trades executed for its custodial clients; and representation of a hedge fund and

 other investors with allegations of harm by the well-publicized collapse of four Regions

 Morgan Keegan closed-end investment companies.

        David has regularly represented the Genesee County (Michigan) Employees'

 Retirement System in securities and shareholder matters, including pending or settled actions

 against CBeyond, Inc., Compellent Technologies, Inc., Merck & Co., Spectranetics

 Corporation, Stryker Corporation, and Transaction Systems Architects, Inc.

        During law school, David was Managing Editor of the Cardozo Arts & Entertainment

 Law Journal and served as a judicial intern to the Honorable Michael B. Mukasey, then a

 United States District Judge for the Southern District of New York.

        For many years, David has been a member of the AmorArtis Chamber Choir, a

 renowned choral organization with a repertoire ranging from Palestrina to Bach, Mozart to

 Bruckner, and Stravinsky to Bernstein.



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        He is admitted to practice in the States of New York and New Jersey as well as before

 the United States Courts of Appeals for the First, Second, Fifth, Eighth and Ninth Circuits and

 the United States District Courts for the Southern and Eastern Districts of New York, the

 District of New Jersey, the District of Colorado, and the Western District of Michigan.



 Louis Gottlieb, Partner
                                                                           lgottlieb@labaton.com
        Louis Gottlieb concentrates his practice on representing institutional and individual

 investors in complex securities and consumer class action cases. He has played a key role in

 some of the most high-profile securities class actions in recent history, securing significant

 recoveries for plaintiffs and ensuring essential corporate governance reforms to protect future

 investors, consumers and the general public.

        Lou was integral in prosecuting In re American International Group, Inc. Securities

 Litigation (settlements totaling more than $1 billion pending final court approval). He also

 helped lead major class action cases against the company and related defendants in In re

 Satyam Computer Services, Ltd. Securities Litigation ($150.5 million settlement). He has led

 successful litigation teams in securities fraud class action litigations against Metromedia Fiber

 Networks and Pricesmart, as well as consumer class actions against various life insurance

 companies on behalf of the insured.

        In the Firm’s representation of the Connecticut Retirement Plans and Trust Funds in In

 re Waste Management, Inc. Securities Litigation, Lou’s efforts were essential in securing a

 $457 million settlement. The settlement also included important corporate governance

 enhancements, including an agreement by management to support a campaign to obtain

 shareholder approval of a resolution to declassify its board of directors, and a resolution to

 encourage and safeguard whistleblowers among the company’s employees. Acting on behalf



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 of New York City pension funds in In re Orbital Sciences Corporation Securities Litigation, Lou

 helped negotiate the implementation of measures concerning the review of financial results,

 the composition, role and responsibilities of the Company’s Audit and Finance committee, and

 the adoption of a Board resolution providing guidelines regarding senior executives’ exercise

 and sale of vested stock options.

        Lou was a leading member of the team in the Napp Technologies Litigation that won

 substantial recoveries for families and firefighters injured in a chemical plant explosion. Lou

 has had a major role in national product liability actions against the manufacturers of

 orthopedic bone screws and atrial pacemakers, and in consumer fraud actions in the national

 litigation against tobacco companies.

        A well-respected litigator, Lou has made presentations on punitive damages at Federal

 Bar Association meetings and has spoken on securities class actions for institutional investors.

        Lou brings a depth of experience to his practice from both within and outside of the

 legal sphere. He graduated first in his class from St. John’s School of Law. Prior to joining

 Labaton Sucharow, he clerked for the Honorable Leonard B. Wexler of the Eastern District of

 New York, and he was a litigation associate with Skadden Arps Slate Meagher & Flom. He has

 also enjoyed successful careers as a public school teacher and as a restauranteur.

        Lou is admitted to practice in the States of New York and Connecticut as well as before

 the United States Courts of Appeals for the Fifth and Seventh Circuits and the United States

 District Courts for the Southern and Eastern Districts of New York.



 James W. Johnson, Partner
                                                                          jjohnson@labaton.com
        James W. Johnson concentrates his practice on complex securities fraud cases. In

 representing investors who have been victimized by securities fraud and breach of fiduciary

 responsibility, Jim’s advocacy has resulted in record recoveries for wronged investors.



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        A recognized leader in his field, Jim currently serves as lead or co-lead counsel in high-

 profile federal securities class actions against Goldman Sachs Group and the Bear Stearns

 Companies, among others.

        In recent years, Jim has successfully litigated a number of complex securities and RICO

 class actions including: In re Bear Stearns Companies, Inc. Securities Litigation ($275 million

 settlement with Bear Stearns Companies, plus a $19.9 million settlement with Deloitte &

 Touche LLP, Bear Stearns’ outside auditor; pending court approval); In re HealthSouth Corp.

 Securities Litigation ($671 million settlement); Eastwood Enterprises LLC v. Farha et al.

 (WellCare Securities Litigation) ($200 million settlement); In re Vesta Insurance Group, Inc.

 Securities Litigation ($79 million settlement); In re Bristol Myers Squibb Co. Securities

 Litigation ($185 million settlement), in which the court also approved significant corporate

 governance reforms and recognized plaintiff’s counsel as “extremely skilled and efficient”; and

 In re National Health Laboratories, Inc. Securities Litigation, which resulted in a recovery of

 $80 million in the federal action and a related state court derivative action.

        In County of Suffolk v. Long Island Lighting Co., Jim represented the plaintiff in a RICO

 class action, securing a jury verdict after a two-month trial that resulted in a $400 million

 settlement. The Second Circuit, in awarding attorneys’ fees to the plaintiff, quoted the trial

 judge, Honorable Jack B. Weinstein, as stating, “counsel [has] done a superb job [and] tried

 this case as well as I have ever seen any case tried.” On behalf of Native Americans, he also

 assisted in prosecuting environmental damage claims resulting from the Exxon Valdez oil spill.

        He is the co-author of “The Impact of the LaPerrierre Decision: Parent Companies Face

 Liability,” Directors Monthly, February 2009.

        Jim is a member of the American Bar Association and the Association of the Bar of the

 City of New York, where he served on the Federal Courts Committee.




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        Jim has received a rating of AV Preeminent from the publishers of the Martindale-

 Hubbell directory. He is a Fellow in the Litigation Council of America.

        He is admitted to practice in the States of New York and Illinois as well as before the

 Supreme Court of the United States, the United States Courts of Appeals for the Second,

 Third, Fourth, Fifth, Seventh and Eleventh Circuits, and the United States District Courts for

 the Southern, Eastern and Northern Districts of New York, and the Northern District of Illinois.



 Christopher J. Keller, Partner
                                                                               ckeller@labaton.com
        Christopher J. Keller concentrates his practice in sophisticated complex securities

 litigation. His clients are institutional investors, including some of the largest public and

 private pension funds with tens of billions of dollars under management.

        Chris has been instrumental in the Firm’s appointments as lead counsel in some of the

 largest securities litigations to arise out of the financial crisis, such as actions against Morgan

 Stanley, Fannie Mae, Goldman Sachs, Countrywide ($624 million settlement) and Bear Stearns

 ($275 million settlement with Bear Stearns Companies, plus a $19.9 million settlement with

 Deloitte & Touche LLP, Bear Stearns’ outside auditor; pending court approval).

        Chris was also a principal litigator on the trial team of In re Real Estate Associates

 Limited Partnership Litigation. The six-week jury trial resulted in a $184 million plaintiffs’

 verdict, one of the largest jury verdicts since the passage of the Private Securities Litigation

 Reform Act.

        In addition to his active caseload, Chris holds a variety of leadership positions within

 the Firm, including serving on the Firm’s Executive Committee. In response to the evolving

 needs of our clients, Chris also established, and currently leads, the Case Evaluation Group,

 which is comprised of attorneys, in-house investigators, financial analysts and forensic

 accountants. The Group is responsible for evaluating clients’ financial losses and analyzing



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 their potential legal claims both in and outside of the U.S. and track trends that are of

 potential concern to investors.

        Educating institutional investors is a significant element of Chris’ advocacy efforts for

 shareholder rights. He is regularly called upon for presentations on developing trends in the

 law and new case theories at annual meetings and seminars for institutional investors. He is

 also a prolific writer and his articles include: “The Benefits of Investor Protection,” Law360,

 October 11, 2011; “SEC Contemplating Governance Reforms,” Executive Counsel, January

 2011; "Is the Shield Beginning to Crack?," New York Law Journal, November 15, 2010; "Say

 What? Pay What? Real World Approaches to Executive Compensation Reform," Corporate

 Counsel, August 5, 2010; "Reining in the Credit Ratings Industry," New York Law Journal,

 January 11, 2010; "Japan's Past Recession Provides a Cautionary Tale," The National Law

 Journal, April 13, 2009; and "Balancing the Scales: The Use of Confidential Witnesses in

 Securities Class Actions," BNA's Securities Regulation & Law Report, January 19, 2009.

        He is a member of several professional groups, including the New York State Bar

 Association and the New York County Lawyers’ Association.

        He is admitted to practice in the State of New York as well as before the Supreme

 Court of the United States and the United States District Courts for the Southern and Eastern

 Districts of New York, the Eastern District of Wisconsin, and the District of Colorado.



 Edward Labaton, Partner
                                                                           elabaton@labaton.com
        An accomplished trial lawyer and partner with the Firm, Edward Labaton has devoted

 50 years of practice to representing a full range of clients in class action and complex litigation

 matters in state and federal court. Ed has played a leading role as plaintiffs’ class counsel in a

 number of successfully prosecuted, high-profile cases, involving companies such as PepsiCo,

 Dun & Bradstreet, Financial Corporation of America, ZZZZ Best, Revlon, GAF Co., American


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 Brands, Petro Lewis and Jim Walter, as well as several Big Eight (now Four) accounting firms.

 He has also argued appeals in state and federal courts, achieving results with important

 precedential value.

        Ed has been President of the Institute for Law and Economic Policy (ILEP) since its

 founding in 1996. Each year, the Institute co-sponsors at least one symposium with a major

 law school dealing with issues relating to the civil justice system. In 2010, he was appointed to

 the newly formed Advisory Board of George Washington University's Center for Law,

 Economics, & Finance (C-LEAF), a think tank within the Law School, for the study and debate

 of major issues in economic and financial law confronting the United States and the globe. Ed

 is also a member of the Advisory Committee of the Weinberg Center for Corporate

 Governance of the University of Delaware, a Director of the Lawyers’ Committee for Civil

 Rights under Law, a member of the American Law Institute, and a life member of the ABA

 Foundation. In addition, he has served on the Executive Committee and has been an officer

 of the Ovarian Cancer Research Fund since its inception in 1996.

        Ed is the past Chairman of the Federal Courts Committee of the New York County

 Lawyers Association, and was a member of the Board of Directors of that organization. He is

 an active member of the Association of the Bar of the City of New York, where he was Chair of

 the Senior Lawyers’ Committee and served on its Task Force on the Role of Lawyers in

 Corporate Governance. He has also served on its Federal Courts, Federal Legislation,

 Securities Regulation, International Human Rights and Corporation Law Committees. He also

 served as Chair of the Legal Referral Service Committee, a joint committee of the New York

 County Lawyers’ Association and the Association of the Bar of the City of New York. He has

 been an active member of the American Bar Association, the Federal Bar Council and the New

 York State Bar Association, where he has served as a member of the House of Delegates.




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         Ed is the co-author of "It's Time to Resuscitate the Shareholder Derivative Action," The

 Panic of 2008: Causes, Consequences, and Implications for Reform, Lawrence Mitchell and

 Arthur Wilmarth, Jr., eds., (Edward Elgar, 2010). For more than 30 years, he has lectured on

 many topics including federal civil litigation, securities litigation and corporate governance.

         Ed has received a rating of AV Preeminent from the publishers of the Martindale-

 Hubbell directory.

         He is admitted to practice in the State of New York as well as before the Supreme

 Court of the United States, the United States Courts of Appeals for the Second, Fifth, Sixth,

 Seventh, Ninth, Tenth and Eleventh Circuits, and the United States District Courts for the

 Southern and Eastern Districts of New York, and the Central District of Illinois.



 Christopher J. McDonald, Partner
                                                                         cmcdonald@labaton.com
         Christopher J. McDonald concentrates his practice on prosecuting complex securities

 fraud cases. Chris also works with the Firm’s Antitrust & Competition Litigation Practice,

 representing businesses, associations and individuals injured by anticompetitive activities and

 unfair business practices.

         In the securities field, Chris is currently co-lead counsel in In re Schering-Plough

 Corporation / ENHANCE Securities Litigation, and lead counsel in In re Amgen Inc. Securities

 Litigation. He was also an integral part of the team that successfully litigated In re Bristol-

 Myers Squibb Securities Litigation, where Labaton Sucharow secured a $185 million

 settlement, as well as significant corporate governance reforms, on behalf of Bristol-Myers

 shareholders. The settlement with Bristol-Myers is the largest ever obtained against a

 pharmaceutical company in a securities fraud case that did not hinge on a restatement of

 financial results.




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        In the antitrust field, Chris was most recently co-lead counsel in In re TriCor Indirect

 Purchaser Antitrust Litigation, obtaining a $65.7 million settlement on behalf of the Class.

        Chris began his legal career at Patterson, Belknap, Webb & Tyler LLP, where he gained

 extensive trial experience in areas ranging from employment contract disputes to false

 advertising claims. Later, as a senior attorney with a telecommunications company, Chris

 advocated before government regulatory agencies on a variety of complex legal, economic,

 and public policy issues. Since joining Labaton Sucharow, Chris’ practice has developed a

 focus on life sciences industries; his cases often involve pharmaceutical, biotechnology or

 medical device companies accused of wrongdoing.

        During his time at Fordham University School of Law, Chris was a member of the Law

 Review. He is currently a member of the New York State Bar Association and the Association

 of the Bar of the City of New York.

        Chris is admitted to practice in the State of New York as well as before the United

 States Courts of Appeals for the Second, Third and Ninth Circuits and the United States

 District Courts for the Southern and Eastern Districts of New York, and the Western District of

 Michigan.



 Jonathan M. Plasse, Partner
                                                                             jplasse@labaton.com
        An accomplished litigator, Jonathan M. Plasse has more than 30 years of experience in

 the prosecution of complex cases involving securities class action, derivative, transactional and

 consumer litigation. He has played a key role in litigating many of the most high-profile

 securities class actions ever filed including architecting significant settlements and aggressive

 corporate governance reforms to protect the public and investors alike. Currently, he is

 prosecuting securities class actions against Schering-Plough, Fannie Mae and Morgan Stanley.




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         Most recently, Jon served as lead counsel in two related securities class actions

 brought against Oppenheimer Funds, Inc., and obtained a $100 million global settlement. Jon

 was also an integral member of the team representing the New York State Common

 Retirement Fund and the New York City pension funds as Lead plaintiffs in In re Countrywide

 Financial Corporation Securities Litigation. The $624 million settlement was the largest

 securities fraud settlement at the time. His other recent successes include serving as co-lead

 counsel in In re General Motors Corp. Securities Litigation ($303 million settlement) and In re

 El Paso Corporation Securities Litigation ($285 million settlement). Jon also acted as Lead

 Counsel in In re Waste Management Inc. Securities Litigation, where he represented the

 Connecticut Retirement Plans and Trusts Funds, and obtained a settlement of $457 million.

         Since 2010, Jon has served as the Chair of the Securities Litigation Committee of the

 Association of the Bar of the City of New York. In addition, he also regularly chairs and is a

 frequent speaker at programs, classes and continuing legal education seminars relating to

 securities class action litigation.

         During his time at Brooklyn Law School, Jon served as a member of the Brooklyn

 Journal of International Law. An avid photographer, Jon has published three books, including

 The Stadium, a collection of black-and-white photographs of the original Yankee Stadium,

 released by SUNY Press in September 2011.

         Jon has received a rating of AV Preeminent from the publishers of the Martindale-

 Hubbell directory.

         He is admitted to practice in the State of New York as well as before the United States

 Court of Appeals for the Second Circuit and the United States District Courts for the Southern

 and Eastern Districts of New York.




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 Ira A. Schochet, Partner
                                                                           ischochet@labaton.com
        A seasoned litigator with three decades of experience, Ira A. Schochet concentrates his

 practice on class actions involving securities fraud. Ira has played a lead role in securing multi-

 million dollar recoveries and major corporate governance reforms in high-profile cases such as

 those against Countrywide Financial, Caterpillar, Spectrum Information Technologies,

 InterMune and Amkor Technology.

        A longtime leader in the securities class action bar, Ira represented one of the first

 institutional investors acting as a lead plaintiff in a post-Private Securities Litigation Reform Act

 case and ultimately obtained one of the first rulings interpreting the statute’s intent provision

 in a manner favorable to investors. His efforts are regularly recognized by the courts,

 including in Kamarasy v. Coopers & Lybrand, where the court remarked on “the superior

 quality of the representation provided to the class.” Further, in approving the settlement he

 achieved in In re InterMune Securities Litigation, the court complimented Ira’s ability to secure

 a significant recovery for the class in a very efficient manner, shielding the class from

 prolonged litigation and substantial risk.

        From 2009-2011, Ira served as President of the National Association of Shareholder

 and Consumer Attorneys (NASCAT), a membership organization of approximately 100 law

 firms that practice class action and complex civil litigation. During this time, he represented

 the plaintiffs’ securities bar in meetings with members of Congress, the Administration, and

 the SEC.

        Since 1996, Ira has served as chairman of the Class Action Committee of the

 Commercial and Federal Litigation Section of the New York State Bar Association. During his

 tenure, he has served on the Executive Committee of the Section and authored important

 papers on issues relating to class action procedure including revisions proposed by both

 houses of Congress and the Advisory Committee on Civil Procedure of the United States


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 Judicial Conference. Examples include: “Proposed Changes in Federal Class Action

 Procedure”; “Opting Out On Opting In” and “The Interstate Class Action Jurisdiction Act of

 1999.” He also has lectured extensively on securities litigation at continuing legal education

 seminars.

          Ira was featured in The AmLaw Litigation Daily as Litigator of the Week on September

 13, 2012 for his work in In re El Paso Corporation Shareholder Litigation. He has also been

 awarded an AV Preeminent rating, the highest distinction, from the publishers of the

 Martindale-Hubbell directory.

          He is admitted to practice in the State of New York as well as before the United States

 Court of Appeals for the Second Circuit and the United States District Courts for the Southern

 and Eastern Districts of New York, the Central District of Illinois, and the Northern District of

 Texas.



 Michael W. Stocker, Partner
                                                                          mstocker@labaton.com
          Michael W. Stocker represents institutional investors in a broad range of class action

 litigation, corporate governance and securities matters.

          A tireless proponent of corporate reform, Mike’s caseload reflects his commitment to

 effect meaningful change that benefits his clients and the markets in which they operate. In

 Eastwood Enterprises LLC v. Farha et al. (WellCare Securities Litigation), Mike was a core part

 of the legal team that prosecuted a complex securities matter against a major healthcare

 provider that had allegedly engaged in a massive Medicaid fraud and pervasive insider

 trading. The case settled for more than $200 million with additional financial protections built

 into the settlement to protect shareholders from losses in the future.

          Mike also was an instrumental part of the team that took on American International

 Group, Inc. and 21 other defendants in one of the most significant securities class actions of



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 the decade. In this closely watched case, the Firm negotiated a recovery of more than $1

 billion, the largest securities settlement of 2010. Most recently, Mike played a key role in

 litigating In re Bear Stearns Companies, Inc. Securities Litigation where the Firm secured a

 $275 million settlement with Bear Stearns, plus a $19.9 million settlement with Deloitte &

 Touche LLP, Bear Stearns’ outside auditor (pending court approval).

         In a case against one of the world’s largest pharmaceutical companies, In re Abbott

 Laboratories Norvir Antitrust Litigation, Mike played a leadership role in litigating a landmark

 action arising at the intersection of antitrust and intellectual property law. The novel

 settlement in the case created a multi-million dollar fund to benefit nonprofit organizations

 serving individuals with HIV. In recognition of his work on Norvir, he was named to the

 prestigious Plaintiffs’ Hot List by the National Law Journal and also received the 2010 Courage

 Award from the AIDS Resource Center of Wisconsin. Mike was also recognized by Benchmark

 Plaintiff as a Local Securities Litigation Star.

         A prolific writer on issues relating to shareholder advocacy and corporate reform,

 Mike’s articles have appeared in national publications including Forbes.com, Institutional

 Investor, Pensions & Investments, Corporate Counsel and the New York Law Journal. He is

 also regularly called upon for commentary by print and television media, including Fox

 Business, BBC4 Radio and the Canadian Broadcasting Corporation's Lang & O'Leary

 Exchange. Mike serves as the Chief Contributor to Eyes On Wall Street, Labaton Sucharow's

 blog on economics, corporate governance and other issues of interest to investors. Mike also

 directly participates in advocacy efforts such as his longtime work guiding non-profit consumer

 protection groups on many issues such as reform of the credit rating industry.

         Earlier in his career, Mike served as a senior staff attorney with the United States Court

 of Appeals for the Ninth Circuit, and completed a legal externship with federal Judge Phyllis J.

 Hamilton, currently sitting in the U.S. District Court for the Northern District of California. He


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 earned a B.A. from the University of California, Berkeley, a Master of Criminology from the

 University of Sydney, and a J.D. from University of California’s Hastings College of the Law.

 His educational background provides unique insight into white-collar crime, an issue at the

 core of many of the cases he litigates.

        He is an active member of the National Association of Public Pension Plan Attorneys

 (NAPPA). He is also a member of the New York State Bar Association and the Association of

 the Bar of the City of New York.

        He is admitted to practice in the States of California and New York as well as before

 the United States Courts of Appeals for the Second, Eighth and Ninth Circuits and the United

 States District Courts for the Northern and Central Districts of California and the Southern and

 Eastern Districts of New York.



 Jordan A. Thomas, Partner
                                                                          jthomas@labaton.com
        Jordan A. Thomas exclusively concentrates his practice on investigating and

 prosecuting securities fraud on behalf of whistleblowers and institutional clients. As Chair of

 the Firm’s Whistleblower Representation practice, Jordan protects and advocates for

 whistleblowers throughout the world who have information about potential violations of the

 federal securities laws. He also is the Editor of SECwhistlebloweradvocate.com, a website

 dedicated to helping responsible organizations establish a culture of integrity and courageous

 whistleblowers to report possible securities violations—without personal or professional

 regrets.

        A career public servant and seasoned trial lawyer, Jordan joined Labaton Sucharow

 from the Securities and Exchange Commission where he served as an Assistant Director and,

 previously, as an Assistant Chief Litigation Counsel in the Division of Enforcement. He had a

 leadership role in the development of the Commission’s Whistleblower Program, including



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 leading fact-finding visits to other federal agencies with whistleblower programs, drafting the

 proposed legislation and implementing rules and briefing House and Senate staffs on the

 proposed legislation. He is also the principal architect and first National Coordinator of the

 Commission’s Cooperation Program, an initiative designed to facilitate and incentivize

 individuals and companies to self-report securities violations and participate in its

 investigations and related enforcement actions. In recognition of his important contributions

 to these national initiatives, while at the Commission, Jordan was a recipient of the Arthur

 Mathews Award, which recognizes “sustained demonstrated creativity in applying the federal

 securities laws for the benefit of investors,” and, on two occasions, the Law and Policy Award.

        Throughout his tenure at the Commission, Jordan was assigned to many of the

 Commission’s highest-profile matters such as those involving Enron, Fannie Mae, UBS, and

 Citigroup. He successfully investigated, litigated and supervised a wide variety of

 enforcement matters involving violations of the Foreign Corrupt Practices Act, issuer

 accounting fraud and other disclosure violations, audit failures, insider trading, market

 manipulations, offering frauds and broker-dealer, investment adviser and investment company

 violations. His cases resulted in monetary relief for harmed investors in excess of $35 billion.

        Prior to joining the Commission, Jordan was a Trial Attorney at the Department of

 Justice, where he specialized in complex financial services litigation involving the FDIC and

 Office of Thrift Supervision. He began his legal career as a Navy Judge Advocate on active

 duty and continues to serve as a senior officer in the Reserve Law Program. Earlier, Jordan

 worked as a stockbroker.

        Throughout his career, Jordan has received numerous awards and honors. At the

 Commission, he was the recipient of four Chairman’s Awards, four Division Director’s Awards

 and a Letter of Commendation from the United States Attorney for the District of Columbia.

 He is also a decorated military officer, who has twice been awarded the Rear Admiral Hugh H.



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 Howell Award of Excellence—the highest award the Navy can bestow upon a reserve judge

 advocate.

        Jordan is a sought-after writer, speaker and media commentator on securities

 enforcement and whistleblower issues.

        Jordan is admitted to practice in the States of New York and New Mexico as well as

 the District of Columbia.



 Stephen W. Tountas, Partner
                                                                            stountas@labaton.com
        Stephen W. Tountas concentrates his practice on prosecuting highly complex securities

 fraud cases on behalf of institutional investors. In recent years, Steve has developed a

 recognized expertise in auditor liability and has played a significant role in securing multi-

 million dollar recoveries in several high-profile cases.

        Currently, Steve is actively involved in prosecuting In re MF Global Holdings Ltd.

 Securities Litigation; In re Schering-Plough Corp. / ENHANCE Securities Litigation and In re

 Celestica Inc. Securities Litigation.

        Since joining Labaton Sucharow, Steve has been responsible for prosecuting several

 securities class actions arising from options backdating including: In re Broadcom Corp.

 Securities Litigation ($160.5 million settlement and the case against the auditor, Ernst & Young

 LLP, is ongoing); In re American Tower Corp. Securities Litigation ($14 million settlement); In

 re Amkor Technologies Inc. Securities Litigation ($11.25 million settlement); and In re HCC

 Insurance Holdings, Inc. Securities Litigation ($10 million settlement).

        Steve was also a key member of the team responsible for representing the New York

 City Employees’ Retirement System and the Division of Investment of the New Jersey

 Department of the Treasury in two individual actions arising from the massive fraud at Adelphi




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 Communications Corp., and was instrumental in prosecuting In re VERITAS Software Corp.

 Securities Litigation, which settled for $21.5 million.

            Steve also has substantial appellate experience and has successfully briefed several

 appeals before the U.S. Court of Appeals for the Ninth, Second and Third Circuits.

            Prior to joining Labaton Sucharow, Steve practiced securities litigation at Bernstein

 Litowitz Berger & Grossmann LLP. There he prosecuted the In re OM Group, Inc. Securities

 Litigation, which resulted in a settlement of $92.4 million. In addition, his work on the

 securities class action against Biovail Corp. contributed to obtaining a settlement of $138

 million.

            During his time at Washington University School of Law, Steve served as Editor-in-Chief

 of the Journal of Law & Policy and was a finalist in the Environmental Law Moot Court

 Competition. Additionally, he worked as a research assistant to Joel Seligman, one of the

 country’s foremost experts on securities regulation.

            Steve serves as Secretary of the Securities Litigation Committee for the New York City

 Bar Association.

            Steve is admitted to practice in the States of New York and New Jersey as well as

 before the United States Courts of Appeals for the Second, Third and Ninth Circuits and the

 United States District Courts for the Southern District of New York and the District of New

 Jersey.



 Dominic J. Auld, Of Counsel
                                                                                dauld@labaton.com
            Dominic J. Auld has over a decade's worth of experience in prosecuting large-scale

 securities and investment lawsuits. He has also worked in the areas of environmental and

 antitrust litigation. Dominic is one of the leaders of the Client Monitoring and Case Evaluation

 Group, working with the team to identify and accurately analyze investment-related matters



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 on behalf of investors potentially damaged by the conduct at issue. In cases directly involving

 his buy-side investor clients, he takes an active role in the litigation. Dominic also leads the

 International Litigation Practice, in which he develops and manages the Firm's representation

 of institutional investors in securities and investment-related cases filed outside the United

 States. With respect to these roles, Dominic specializes in developing and managing the

 Firm's outreach to pension systems and sovereign wealth funds outside the United States and

 in that role he regularly advises clients in Europe, Australia, Asia and across his home country

 of Canada.

        Dominic is a frequent speaker and panelist on topics such as Sovereign Wealth Funds,

 Corporate Governance, Shareholder Activism, Fiduciary Duty, Corporate Misconduct, SRI, and

 Class Actions. As a result of his expertise in these areas, he has become a sought-after

 commentator for issues concerning public pension funds, public corporations and federal

 regulations.

        Dominic is a regular speaker at law and investment conferences, including most

 recently the IMF (Australia) Shareholder Class Action Conference in Sydney and the 2011

 Annual International Bar Association meeting in Dubai. Additionally, Dominic is frequently

 quoted in newspapers such as The Financial Times, The New York Times, USA Today, The

 Times of London, The Evening Standard, The Daily Mail, The Guardian, and trade publications

 like Global Pensions, OP Risk and Regulation, The Lawyer, Corporate Counsel, Investments

 and Pensions Europe, Professional Pensions and Benefits Canada. Recently Dominic

 published an article on custodian bank fees and their impacts on pension funds globally in

 Nordic Regions Pensions and Investment News magazine and was interviewed by Corporate

 Counsel for a feature article on rogue trading. Dominic is on the front line of reforming the

 corporate environment, driving improved accountability and responsibility for the benefit of

 clients, the financial markets and the public as a whole.



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        Prior to joining Labaton Sucharow, Dominic practiced securities litigation at Bernstein

 Litowitz Berger & Grossmann LLP, where he began his career as a member of the team

 responsible for prosecuting the landmark WorldCom action which resulted in a settlement of

 more than $6 billion. He also has a great deal of experience working directly with institutional

 clients affected by securities fraud; he worked extensively with the Ontario Teachers' Pension

 Plan in their actions In re Nortel Networks Corporation Securities Litigation, In re Williams

 Securities Litigation and In re Biovail Corporation Securities Litigation – cases that settled for a

 total of more than $1.7 billion.

        As a law student at Lewis and Clark Law School in Portland, Oregon, Dominic served as

 a founding member of the law review, Animal Law, which explores legal and environmental

 issues relating to laws such as the Endangered Species Act.

        He is admitted to practice in the State of New York.



 Mark S. Goldman, Of Counsel
                                                                         mgoldman@labaton.com
        Mark S. Goldman has 24 years of experience in commercial litigation, primarily

 litigating class actions involving securities fraud, consumer fraud and violations of federal and

 state antitrust laws.

        Mark is currently prosecuting securities fraud claims on behalf of institutional and

 individual investors against hedge funds that misrepresented the net asset value of investors’

 shares, against a company in the video rental market that allegedly provided investors with

 overly optimistic guidance, and against the parent of a leading shoe retailer which was

 acquired by its subsidiary without fully disclosing the terms of the transaction or reasons that

 the transaction was in the minority investors’ best interest. In addition, Mark is participating in

 litigation brought against international air cargo carriers charged with conspiring to fix fuel




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 and security surcharges, and domestic manufacturers of air filters, OSB, flat glass and

 chocolate, also charged with price-fixing.

        Mark successfully litigated a number of consumer fraud cases brought against

 insurance companies challenging the manner in which they calculated life insurance premiums.

 He also prosecuted a number of insider trading cases brought against company insiders who,

 in violation of Section 16(b) of the Securities Exchange Act, engaged in short swing trading. In

 addition, Mark participated in the prosecution of In re AOL Time Warner Securities Litigation,

 a massive securities fraud case that settled for $2.5 billion.

        He is a member of the Philadelphia Bar Association.

        Mark has been awarded an AV Preeminent rating, the highest distinction, from the

 publishers of the Martindale-Hubbell directory.

        He is admitted to practice in the Commonwealth of Pennsylvania.



 Terri Goldstone, Of Counsel
                                                                       tgoldstone@labaton.com
        Terri Goldstone concentrates her practice on prosecuting complex securities litigations

 on behalf of institutional investors.

        Prior to joining Labaton Sucharow, Terri worked as an associate at Schwartz Goldstone

 & Campisi LLP. During her time there, she litigated personal injury cases and was the liaison

 to union members injured in the course of their employment.

        Terri began her career as an Assistant District Attorney at the Bronx County District

 Attorney’s Office.

        Terri received a J.D. from Emory University School of Law, and she earned a B.A., cum

 laude, in Economics and Pre-Law, from American University.

        Terri is admitted to practice in the State of New York.




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 Thomas G. Hoffman, Jr., Of Counsel
                                                                            thoffman@labaton.com
         Thomas G. Hoffman, Jr. concentrates his practice on prosecuting complex securities

 fraud cases on behalf of institutional investors.

         Currently, Thomas is actively involved in prosecuting In re Goldman Sachs, Inc.

 Securities Litigation. Most recently, he was part of the Labaton Sucharow team that recovered

 more than $1 billion (subject to court approval) in the six-year litigation against American

 International Group, Inc.

         Prior to joining Labaton Sucharow, Thomas served as a litigation associate at Latham &

 Watkins LLP, where he practiced complex commercial litigation in federal and state courts.

 While at Latham & Watkins, his areas of practice included audit defense and securities

 litigation.

         Thomas received a J.D. from UCLA School of Law, where he was Editor-in-Chief of the

 UCLA Entertainment Law Review, and served as a Moot Court Executive Board Member. In

 addition, he was a judicial extern to the Honorable William J. Rea, United States District Court

 for the Central District of California. Thomas earned a B.F.A., with honors, from New York

 University.

         Thomas is admitted to practice in the State of New York as well as before the United

 States District Courts for the Southern and Eastern Districts of New York.



 Richard T. Joffe, Of Counsel
                                                                                rjoffe@labaton.com
         Richard Joffe’s practice focuses on class action litigation, including securities fraud,

 antitrust and consumer fraud cases. Since joining the Firm, Rich has represented such varied

 clients as institutional purchasers of corporate bonds, Wisconsin dairy farmers, and consumers

 who alleged they were defrauded when they purchased annuities. He played a key role in




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 shareholders obtaining a $303 million settlement of securities claims against General Motors

 and its outside auditor.

         Prior to joining Labaton Sucharow, Rich was an associate at Gibson, Dunn & Crutcher

 LLP, where he played a key role in obtaining a dismissal of claims against Merrill Lynch & Co.

 and a dozen other of America’s largest investment banks and brokerage firms, who, in

 Friedman v. Salomon/Smith Barney, Inc., were alleged to have conspired to fix the prices of

 initial public offerings.

         Rich also worked as an associate at Fried, Frank, Harris, Shriver & Jacobson where,

 among other things, in a case handled pro bono, he obtained a successful settlement for

 several older women who alleged they were victims of age and sex discrimination when they

 were selected for termination by New York City’s Health and Hospitals Corporation during a

 city-wide reduction in force.

         He co-authored “Protection Against Contribution and Indemnification Claims” in

 Settlement Agreements in Commercial Disputes (Aspen Law & Business, 2000).

         Long before becoming a lawyer, Rich was a founding member of the internationally

 famous rock and roll group, Sha Na Na.

         He is admitted to practice in the State of New York as well as before the United States

 Courts of Appeals for the Second, Third, Ninth and Eleventh Circuits, and the United States

 District Courts for the Southern and Eastern Districts of New York.



 Barry M. Okun, Of Counsel
                                                                            bokun@labaton.com
         Barry M. Okun is a seasoned trial and appellate lawyer with more than 30 years’

 experience in a broad range of commercial litigation. Currently, Barry is actively involved in

 prosecuting In re Goldman Sachs Group, Inc. Securities Litigation. Most recently, he was part

 of the Labaton Sucharow team that recovered more than $1 billion (subject to court approval)



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 in the six-year litigation against American International Group, Inc. Barry also played a key

 role representing the Successor Liquidating Trustee of Lipper Convertibles, L.P. and Lipper

 Fixed Income Fund, L.P., failed hedge funds, in actions against the Fund’s former auditors,

 overdrawn limited partners and management team. He helped recover $5.2 million from

 overdrawn limited partners and $30 million from the Fund’s former auditors.

        Barry has litigated several leading commercial law cases, including the first case in

 which the United States Supreme Court ruled on issues relating to products liability. He has

 argued appeals before the United States Court of Appeals for the Second and Seventh

 Circuits and the Appellate Divisions of three out of the four judicial departments in New York

 State. Barry has appeared in numerous trial courts throughout the country.

        He received a J.D., cum laude, from Boston University School of Law, where he was the

 Articles Editor of the Law Review. Barry earned a B.A., with a citation for academic distinction,

 in History from the State University of New York at Binghamton.

        Barry has been awarded an AV Preeminent rating, the highest distinction, from the

 publishers of the Martindale-Hubbell directory.

        He is admitted to practice in the State of New York as well as before the Supreme

 Court of the United States, the United States Courts of Appeals for the First, Second, Seventh

 and Eleventh Circuits, and the United States District Courts for the Southern and Eastern

 Districts of New York.



 Paul J. Scarlato, Of Counsel
                                                                         pscarlato@labaton.com
        Paul J. Scarlato has over 22 years of experience litigating complex commercial matters,

 primarily in the prosecution of securities fraud and consumer fraud class actions and

 shareholder derivative actions.




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        Most recently, Paul was a member of the co-lead counsel team that secured a

 settlement (still subject to court approval) for shareholders in In re Compellent Technologies,

 Inc. Shareholder Litigation.

        Currently, he is prosecuting Arkansas Teacher Retirement System v. State Street Corp.

        Paul has litigated numerous cases on behalf of institutional and individual investors

 involving companies in a broad range of industries, many of which involved financial statement

 manipulation and accounting fraud. Paul was one of three lead attorneys for the class in

 Kaufman v. Motorola, Inc., a securities-fraud class action case that recovered $25 million for

 investors just weeks before trial and, was one of the lead counsel in Seidman v. American

 Mobile Systems, Inc., a securities-fraud class action case that resulted in a favorable settlement

 for the class on the eve of trial. Paul also served as co-lead counsel in In re Corel Corporation

 Securities Litigation, and as class counsel in In re AOL Time Warner Securities Litigation, a

 securities fraud class action that recovered $2.5 billion for investors.

        Paul received a J.D. from the Delaware Law School of Widener University. After law

 school, Paul served as law clerk to Judge Nelson Diaz of the Court of Common Pleas of

 Philadelphia County, and Justice James McDermott of the Pennsylvania Supreme Court.

 Thereafter, he worked in the tax department of a “Big Six” accounting firm prior to entering

 private practice. Paul earned a B.A. in Accounting from Moravian College.

        Paul has received a rating of AV Preeminent from the publishers of the Martindale-

 Hubbell directory.

        He is admitted to practice in the State of New Jersey and the Commonwealth of

 Pennsylvania.




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 Nicole M. Zeiss, Of Counsel
                                                                              nzeiss@labaton.com
        Nicole M. Zeiss has 16 years of litigation experience. Nicole focuses her practice on

 negotiating and documenting complex class action settlements and obtaining the required

 court approval of the settlements, notice procedures and payments of attorneys’ fees. She

 has expertise in analyzing the fairness and adequacy of the procedures used in class action

 settlements.

        Nicole was part of the Labaton Sucharow team that successfully litigated the $185

 million settlement in Bristol-Myers Squibb. She also played a significant role in In re Monster

 Worldwide, Inc. Securities Litigation ($47.5 million settlement). Nicole has also litigated on

 behalf of investors who have been damaged by fraud in the telecommunications, hedge fund

 and banking industries.

        Prior to joining Labaton Sucharow, Nicole worked for MFY Legal Services, practicing in

 the area of poverty law. She also worked at Gaynor & Bass practicing general complex civil

 litigation, particularly representing the rights of freelance writers seeking copyright

 enforcement.

        Nicole maintains a commitment to pro bono legal services by continuing to assist

 mentally ill clients in a variety of matters—from eviction proceedings to trust administration.

        She received a J.D. from the Benjamin N. Cardozo School of Law, Yeshiva University.

 Nicole earned a B.A. in Philosophy from Barnard College.

        Nicole is a member of the Association of the Bar of the City of New York.

        She is admitted to practice in the State of New York as well as before the United States

 District Courts for the Southern and Eastern Districts of New York.




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